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EXHIBIT Z

 

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1 4 AMERICAN ARBITRATION ASSOCIATION

 

2 --------------------------------------- X
3 AMERICAN INTERNATIONAL SPECIALTY

4 LINES INSURANCE COMPANY,

5 Claimant-
`6 , Counter Respondent,
7 ~ ` - against -

8 THE UPPER DECK COMPANY, RICHARD P.

111 ram ; <`?212§ wm

9 'MCWILLIAM, and the MPR REVOCABLE TRUST,

10 Respondents-
11 Counter Claimants.
12 --------------------------------------- X
13 780 Third Avenue
New York, New York
14
OCtOber 30, 2006
15 10:25 a.m.

16 B E F O R E:

17 JOHN F. BYRNE, Chairman

718 STEPHEN D. KRAMER, Arbitrat@r

19 CHARLES J. MOXLEY, JR., Arbitrator

20

21 f MELISSA GILMORE, Rep@rter

22

23 ELLEN GRAUER COURT REPORTING CO. LLC
126 East 56th Street, Fifth Floor

24 New York, New YOrk 10022

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Proceedings
l don`t want to know what you didn‘t do,
or what you are going to do, or what you
tried to do, or whatever. Hearing
nothing, we will do our duty. Okay?

Let's take no more than ten minutes,
let‘s find out where the boxes are, let's
get where we have to get set up, and then
let's go with lVlr. Mather. Okay? Thank
you.

(Recess taken.)

CHA|RMAN BYRNE: Back on the reoord,
everyone, There are a few other -~ l wilt
call them procedural matters that we need
to discuss with the parties --that l need
to discuss with the parties And there
are a few issues that Mr. Wahlquist raised
with me off the record, but let's talk
about them on the record after we have
finished our testimony with this witness

You have been patient enough to wait
for us to get our act together, although,
you were scheduled earlier. That is the
Chair‘s fault Monday is not a good day

for me under normal circumstances and |

742

Proceedings
apologize, Mr. Mather.

THE WlTNESS: |‘m at your disposal.

CHA|RMAN BYRNE: |‘m John Byrne, the
chair of the panel. On my right is
Mr. Steven Kramer. On my left is
Mr. Charles Moxley. lwant you to keep in
mind that you are testifying to, and on
behalf of, the three of us, the panel of
arbitrators

l also want to remind you before you
start your testimony, that we have heard
and been basically brought up to speed
with respect to any number of tax issues
that you may be testifying to.

We are interested in your view, and
your insight, and your knowledge We are
going to have you sworn in, in a moment as
a witness, but l preface the swearing in
by reminding you or assuring you that you
are not being sworn in with respect to
your opinion.

l assume it's yours and not somebody
else‘s, but you are going to be sworn to

tell the truth with respect to what you

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upper deck-aig arb

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Proceedings

have done, what you didn‘t do, what you
looked at, what you didn‘t look at, what
you considered, what you didn‘t consider.

|n other words, no one swears or
affirms to the truth of their opinion, and
you shouldn‘t sit there thinking that you
have to defend it in any way. And we
assume the accuracy of your opinion when
we swear you in.

|'m also going to remind you to
listen to the question, take a breath, see
if there is an objection, and let us rule
before you answer. So pay attention to
the proceedings and not just to the
question that you are being asked. As you
are formulating the answer, that's the
only breath that you need to take.

The bestwitnesses, expert or
otherwise, are direct and to the point
As best you can, answer succinct|y. "Yes"
and "No" is frne. "| don't knovi/' isjust
as accurate, if you don‘t.

| have -- in other instances, l may

have -~ and | apologize if l repeated

744

Proceedings

myself to this group --the road to hell
is paved with good intentions The road
to hell is also paved with the carcasses
of those who tried to volunteer.

So just answer the question. "|
don't know" is fine, not "l'm not sure,
but | can find out for you." You will be
one of those carcasses on the road to
hell, lassure you. Okay?

THE WlTNESS: Okay.

CHA|RMAN BYRNE: With that said,
Madam Reporter, would you be good enough

to swear in the witness?

STEVEN RAY MATHER, called

as a witness, having been duly sworn by a
Notary Pub|ic, was examined and testified
as follows:

CHAlRMAN BYRNE: Thank you. We need
your full name for the record, a business
address, and a home address

THE WlTNESS: Okay. lt's Steven,
S-T-E-V~E-N, Ray, R-A-Y, Mather,
M-A-T-H-E»R. The business address is 9777
Wilshire, W-l~L-S-H-l-R-E, Bou|evard,

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Proceedings

Suite 805, iri Beverly Hi|ts, California,

90212. And the home address is 132 Via,

V-l-A, Undine, U-N-D-l-N-E, in Newport

Beach, California 92663.

CHA|RMAN BYRNE: Are you an
attorney?
THE WlTNESS: Yes.
CHA|RMAN BYRNE: So say we all, and
keep that in mind, okay?
THE WlTNESS: Okay.
CHA|RMAN BYRNE: Mr. Wahlquist?
DlRECT EXAM|NAT|ON
BY MR. WAHLQU|ST:

Q. Are you ready to proceed?

A. Yes.

Q. You are an attorney. Do you also
have any accounting background?

A. Yes. l was an accounting major at
the University of lowa, and l passed the CPA
exam, which entitled me to have a certificate
as a CPA in lowa, but | have never been
licensed to practice as a CPA.

Q. You went straight to law school from

college?

746

Mather - Direct

A. Pretty straight l worked for a
while for Coopers -- at what was Coopers &
Lybrand at the time in between college and law
school, but that was only a period of about
eight months

Q. All right. And when you graduated
from law schoo|, did you then become employed
by the lRS?

A. Yes.

Q. Describe your employment history
with the |RS for us.

A. l was an attorney with the lRS, then
District Counsel Oche, first in San Francisco
for a year, and then in Los Angeles And my
responsibilities were principally threefo|d, l
guess. l handled tax court litigation where l
was the representative of the government myself
and tried the cases. l advised revenue
ochers and US attorneys on tax collection
matters.

And l also spent a significant
amount of my time, particularly in the Los
Angeles office, doing duties associated with me

being the tax shelter coordinator for that

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Mather ~ Direct
office, which meant a variety of different
things

But most prominently was, l was the
one member from the counsel ofhce on what they
called the ACE committee of appeals counsel and
exam. And what we did at that time, and this
is the mid '805, we received information on tax
shelters that were being promoted currently,
and made determinations as to what type of
investigation would be done, and what possible
actions would be taken against the promoters of
the tax shelter.

Because in 1982, Congress passed a
law that for the first time allowed the
government to kind of go after the promoters,
as opposed to just waiting to audit the
investors, and that was ~- the ACE was the
committee that basically was responsible for
implementing those, what we called at the time
front end investigations that were designed to
penalize or shut down people promoting tax
shelters.

Q. So a large part of your employment

with the lRS, in fact, dealt with whatyou

748

Mather - Direct

refer to as a "tax shelter"?

A. Yes, because most of the cases that
l handled as a trial attorney were also tax
shelter cases

Q. And you tried cases for the
government in the tax court?

A. Yes.

Q. You tried cases for taxpayers as
well, since you have gone in private practice?

A. | have.

Q. How many tax cases have you tried?

A. l would guess all told that it would
be in the neighborhood of 50, not all ofwhich
were reported cases Some -- at least when |
was with the government, there were a number of
cases that were what we would call a small ta)<
case.
Did you try tax shelter cases?
Yes, |have.

|n the tax court?

.>!O.>.D

Yes.
Q. Do you have any professional
publications?

A. l have principally three
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Mather - Direct
publications l have published articles and
materials for seminars But over and above
that, l have three, what lwould call
treatises, that |'ve published. One is -- or
two of them are BNA Tax Management Portfolios
which -- they are ~ it's a series of several
hundred volumes
And l have published one volume that
is essentially the audit procedures for
pass-through entities, partnerships and S
corporations, which l have become an expert at
with the district counsel. And then when l
moved to private practice, l authored that
publication.
Q, That was by virtue of the tax
shelter work that you became an expert on ~-
A. Essentia|ly, because in the '805,
most of the tax shelters were in partnership
form, and they also, in the 1982 Act in TEFRA,
they implemented a whole new set of audit
procedures for partnerships, primarily to
respond to the explosion of tax shelter
partnerships at that time.

And l was also the -- what they

750

Mather - Direct
called the TEFRA coordinator. They refer to
these as the TEFRA procedures, and so l was
fielding all the questions on those procedures
and giving opinions, which made me intimately
familiar with -

Q. l interrupted you. That was one of
your publications?

A. Yes.

Q. What were the others'?

A. The other one was the Federa| Tax
Co|lection Procedure which, as of two weeks
ago, just was republished just as a two volume
set in that same BNA Tax Management Portfolio
and series

And then l also have what, l guess
they refer to as a chapter, on TEFRA
partnership procedures in the BNA Tax Practice
series, which is a different series, and that's
widely circulated.

Q. Have you also handled tax cases at
the appellate levels'?

A. Yes, | have handled appeals to the
Ninth Circuit.

Q. l want to talk with you briefly

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Mather - Direct
about the nature of the tax court.
How many judges are on the tax
court?

A. There are currently -- l think there
is 18. There are 19 full-time positions, and
then there is a number of positions for what
they call small -- small trial judges

Q. Where do those judges have their
principal chambers?

A. Everyone is in Washington, DC.

Q. So they -~ where do they try cases?

A. Predominantly remote locations
They ride circuit.

Q. And so you are familiar with the
Upper Deck transaction and Mr. McWilliam’s
transaction that is in issue?

A. Yes.

Q. lf SC squared were to be challenged
in court -- in tax court, where would that
trial have taken place?

A. Well -~

Q. Or where could it have taken place?
Let me put it that way.

A. lt could literally take -- you mean

752

Mather - Direct
for Upper Deck's specific case?

Q. Yes.

A. lt would take place wherever Upper
Deck asked for the place of trial to be, which
presumably would be in San Diego.

Q. And if there was an appeal from the
result in the tax court, where would that
appeal lie?

A. The appeal --the venue for appeal
is based on the residence of the taxpayer when
the petition in the tax court is filed. So if
he didn't -- if Mr. McWilliam didn't move, it
would be the Ninth Circuit.

Q. How many -- how many tax court
judges try a case in tax court?

A. On|y one.

Q. Now, there is -- Ms. Linda Burke
testified that you might get one or two or
three taxjudges. Have you ever seen a case
that had more than one tax courtjudge try a
case?

,A. There would conceivably be a
different judge assigned at a different point,

but there has never ~ | don't think in the
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Page 750 - 753

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upper deck-aig arb

Mather - Direct
history of the tax court -- been a trial where
there was more than one judge sitting as the
trial judge in the case.

Q. What happens after a tax court judge
formulates a proposed decision in connection
with the case?

A. The trial judge receives all the
evidence. There are post-trial briefs filed
typica||y, and then usually a year or more
afterthe trial is over, the judge issues an
opinion.

And that opinion is then circulated
among the other 19 full-time judges of the tax
court, and they have an opportunity to file an
objection to the opinion being issued in the
form that the trial judge has authored it.

Q. And what happens -- if somebody
tiles an objection, what happens?

A. Then the chiefjudge makes a
determination as to whether the case will go
to, what they call court conference, which is
essentially, thejudges get together in a big
room like this, and they are all sitting around

a big table, and they vote ori the opinion in

754

Mather - Direct

essence

And if the judge that tried the case
isn't in the majority, then he doesn't author
the opinion, and they select somebody else to
author the majority opinion, if you will, and
then the judge that tried the case that wanted
to decide it differently would file a
dissenting opinion.

Q. Now, have you had occasion to hear
tax courtjudges speak to professional
organizations about their own view of their
ro|e?

A. Yes, many times.

Q. Can you describe the kind of
circumstances where you have heard them speak
about that?

A. The most frequent times certainly is
that when the judges come to Los Angeles, which
is usually six to eight times a year, a group
of tax controversy attorneys invites them to
dinner the first night that they are in town,
and they make some remarks typically there to
the assembled group, which includes government

attorneys, so that would be the -

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Mather - Direct

Q. How have you heard tax court judges
describe their role in the tax court?

A. Well, they certainly have described
their roles as being the trier of fact, but
they also noticeably and somewhat
disconcertingly now, describe their roles as
being, in effect, the protector of the Fisk in
the sense that l believe the tax court, as a
body, views itself as having a gatekeeper
function, and that they are there as a backstop
to make sure that things that aren't supposed
to happen, don't happen in the tax world.

CHA|RMAN BYRNE: Why do you say
sometimes disconcertingly?

THE WlTNESS: Well, it's generally
not favorable to my current position of
representing taxpayers.

BY lVlR. WAHLQU|ST:

Q. ls it tougher to win a case in tax
court for you now that you are in private
practice than it was when you were with the
government?

A. | probably tried 20 to 25 cases, in

the government and out of the government, and

756

Mather - Direct
the win/loss percent is the same. Although in
the government, |won 95 percent of the cases
And now, | lose 95 percent of the cases So
something happened there when l switched sides
CHA|RMAN BYRNE: And you are
testifying under oath that it was not the
diminution of skill in any way?
THE WlTNESS: l question that from
time to time, but --
BY MR. WAHLQU|ST

Q. Have you reviewed something called
Notice 2004-30?

A. Yes, l have.

Q. And that is something that the |RS
published in approximately April of 2004
regarding the SC squared transaction, right?

A. That's correct.

Q. What is the purpose of a notice like
that?

A. The typical purpose is to put the
world on notice, if you will, that the |RS has
determined what their position will be with
respect to this transaction, and that they

intend to attack the transaction for anybody
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Mather - Direct

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Mather - Direct

that chooses to claim the tax benefits 2 interested in, adopted the disclosure
associated with that. 3 initiative, which essentially caused - or the
And then it also, probably equally 4 deal was that the |RS would waive the penalties
important|y, kicks in or causes the transaction 5 associated with these transactions if the
to be a listed transaction, which automatically 6 people came fonuard and disclosed their
kicks in some disclosure requirements for 7 identity.
people afEliated with the transactions 8 So that was -- there was a lot of
Q. What does it mean to be a "listed 9 noncompliance with the tax shelter registration
transaction"? 10 rules, and so this was a way for them to get
A. lt means that the |RS put you on the 11 the kind ofinformation that they would have
list. 12 hoped to have gotten through the registration
Q. And if, for example, you're KPMG, 13 requirements
what do you have to do when this is put on the 14 Q. Can you explain to us what those
|ist? 15 penalties are?
A. You have recordkeeping and 16 A. Well, the principal penalty
disclosure obligations with respect to the 17 applicable to tax shelters is the
transactions that you have sold to taxpayers 18 accuracy-related penalty, which is normally
that you have been involved with, and you also 19 20 percent of the tax deficiency amount And
have to registerthe shelter with the |RS, if 20 it can, in instances be 40 percent if the tax
you have not already done so, which the 21 benefit ultimately disallowed results from a
registration is an lRS form that discloses 22 substantial overvaluation of an asset involved
certain information about the particulars of 23 in the transaction,
the deal. 24 Q. Now, what -- based on your
Q. Now, by notice 2004-30, the |RS had 25 experience, what would happen to an SC squared
758 760
Mather - Direct 1 Mather - Direct
already summoned the identity of the SC squared 2 participant who did not take advantage of the
participants from KPMG, though, right? 3 disclosure initiative? What would the |RS‘s
A. Yes. 4 position be with that taxpayer now?
Q. That was -- and you have reviewed -- 5 A. Well, certain|y, they would not be
well, you are aware that happened some time in 6 conceding the penalty now. The settlement --
2002, correct? 7 there was a standard settlement proposal made
A. Yes, early 2002. 8 to the SC squared participants, and they
Q. And you are aware that shortly after 9 acknowledged that if you disclosed, there was
that, Mr. McWilliam and some other SC squared 10 no penalty.
participants identified themselves to the 11 But then they did impose a penalty
government in an amnesty program, right? 12 in the event you did not disclose So you got
A. Yes, a disclosure initiative | 13 a worse settlement if you didn‘t disclose under
wouldn't necessarily call it an amnesty 14 their settlement initiative.
program. 15 And if you still didn't want to
Q. Yeah. 16 settle under that settlement initiative, then
A. But it did function like an amnesty 17 you would end up in litigation.
program. 18 Q. Okay. Mr. Kushner has provided the
Q. Describe for us this disclosure 19 pane|, l believe, and me with a chart that
program that Mr. McWilliam participated in? 20 identifies four insured SC squared
A. Well, if you --the lRS, | believe 21 participants That chart indicates that three
recognizing that they might not have the 22 of the four SC squared participants
resources to readily determine who was the -- 23 participated in the disclosure initiative, and
who were the investors in some of these tax 24 that one did not.
shelter transactions that they became 25 And it further indicates that the
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Mather ~ Direct
one that did not participate in the disclosure
initiative is the one that appears not to have
settled with the |RS?

A. Yes, l saw that on the table.

Q. And can you tell us, based on your
experience, what your expectations are -- would
be going on with that SC squared participant,
the one that did not participate in a
disclosure initiative?

A. l would guess that the focus of the
litigation is probably on the taxpayer's
efforts to obtain relief from the penalty.

Q. There is no litigation yet.

MR. KUSHNER: l have to object to
the "guess" You're --

CHAlRMAN BYRNE: The objection is
well taken. Choose your words a little

bit more carefully.

THE WlTNESS: Okay.

CHA|RMAN BYRNE: Like, in my
experience, that would mean that,

MR. KUSHNER: lf lVlr. Mathers has
seen the papers, that would be tine.

That's why l don't think he is right in

762

Mather - Direct

his guess

CHA|RMAN BYRNE: Mr. Kushner, your
objection is sustained. l want to -- we
are at a point where l think it's
appropriate for me, on behalf of the
panel, to thank lVlr. Kushner for providing
the demonstrative exhibit we were just
talking about in such a timely manner.

l apologize that it was so timely at
my direction that it is now being referred
to by a witness, but l'm saying that
facetiously, but l want to thank you very
much.

| also want to thank on the record
you and Ms. Thompson presumably, as well
as Mr. Stroili, who was so efficient in
providing me with documents pursuant to my
directionl all of which lwill say on the
record that l was provided, appeared to me
to be overinclusive in compliance with my
directive on the record, which was
appreciated

And the speed that you did it -- in

which it was done was also appreciated,

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Mather - Direct

and the speed and timeliness where you

were able to turn around my ruling into

disclosures fonivarding the documents that

l released to Mr. Wahlquist and on behalf

of the panel, lwant to thank you. And l

also want to thank you, Mr. Wahlquist, for

getting that list to Mr. Kushner timely in
the first place so we could get the ball
rolling. lt was very well done by the
parties and counsel. Thank you, Sorry
for the interruption, but it was, l think
appropriate, in light of the demonstrative
exhibit

Why don't we go back, and perhaps

Mr. Wahlquist, you can rephrase your

question more directly.

MR. WAHLQU|ST: Sure.
BY MR. WAHLQU|ST:

Q. Based on your experience, would you
expect that the |RS would pursue a penalty with
an SC squared participant who had not
participated in the disclosure program?

A. l think it's virtually certain that

they would.

Mather ~ Direct

Q. Now, you indicated you've reviewed
the Notice 2004-30; is that correct?

A. Correct.

Q. And you have reviewed certain |DRs
and transmitting letters directed to Upper Deck
and Mr. McWilliam that came in the August 2004
timeframe asking for documents pertaining to
the SC squared transaction; is that right?

A. That's correct

Q. And have you reviewed the lRS's
coordinated issue paper --

A. Yes, l have.

Q. __ regarding Notice 2004?

With that as background, do you have
an opinion as to whether or not the SC squared
transaction that was implemented by Upper Deck
in 2001 differed in any material way in the
transaction identihed -- general transactions
identified in Notice 2004-30?

A. ls the question --

Q. Let me rephrase it. What l'm trying
to Hnd out is, did what Upper Deck and
Mr. McWilliam did in 2001 differ in any way

materially from the transactions identified in

765

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upper deck-aig arb

Mather - Direct
2004-30?

A. No.

Q. And you are aware that in December
of 2002, there was a share repurchase agreement
where the Austin Firefighter shares were
purchased by Upper Deck?

A. Yes.

Q. And you reviewed that agreement?

A. l did.

Q. Does that, in your understanding,
differ from the SC squared transaction
identified in Notice 2004-30?

A. Not in any material respect

Q. Now, the shareholders agreement that
Upper Deck ~- excuse me, that the MPR Trust and
the firefighters entered into in 2001, you are
familiar with that document?

A. Yes.

Q. And the Put provision in Section 5
of the document?

A. Yes.

Q. Does the Put -- the existence of the
Put affect the viability of the SC squared

transaction in any way?

766

Mather - Direct

A. You could look at it in either of
two ways The Put is an opportunity for the
firefighters to realize cash from the shares of
stock. lt's designed, according to the
agreement to occur two years out. lt could be
viewed negatively with respect to the bona
fides of the transactions because it‘s, in
essence, an opportunity for the shares to be
pulled back if you want to look at it that way.

Or it could be viewed as a positive

feature because it essentially establishes a
formula for determining a price for an asset
that othenivise has no market

Q. Can you elaborate on that second
comment? The formula for the price.

A. Well, it's ~~ within the Put itself,
it specifies certain elements that are supposed
to be taken into account in any valuation of
the price at which the Put is to be exercised.
And those are all fairly standard valuation
techniques when you look at a normal
closely-held corporation.

You look at discounts of the type

that are referenced in that paragraph, but what

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Mather - Direct
you have, in my view in this case is, when you
look at the way the transaction was designed to
occur, the concept of a fair market value for
these shares is essentially meaningless in my
view because you have this situation where
essentially, the deal -- if l were to put my
|RS hat on and say what's the deal here, is the
deal is that we have a piece of paper that we
call a share certificate here, that we are
going to give to the firethters, and the
firefighters are going to absorb 90 percent of
the tax consequence of owning that -- of
holding that piece of paper for whatever term
they hold it.

And by the formula, which was
exhibited in the FlVlV opinions appraisal and
basically copied with minor variations in the
one done by Empire, l believe it was for AlG,
is that basically, you end up with a valuation
formula where 5 percent of the economic benefit
associated with that goes to the charity.

So you essentially have a piece of
paper, and whoever takes that piece of paper

gets to pay tax on 90 percent of the increase

768

Mather - Direct
in value of the company, if you will, in the
form of earnings while receiving 5 percent of
the economic beneht.

And l would submit that there is no
market for those shares with that -- in that
understanding, and that's how the transaction
was designed.

CHA|RMAN BYRNE: What l hear you --
part of what l - oversimplification, but
what l hear you saying is, you are
paying -- anyone who engages in an SC
squared transaction is paying the charity,
the tax exempt, a price negotiated,
appraised, whatever, for having sheltered
90 percent of the earnings of the company
that is paying a price for that privilege?

THE WlTNESS: Reduced to its
essence, that's it.

CHA|RMAN BYRNE: For all intents and
purposes, if the share -- what l hear you
saying is if the share is worth 2 million,

5 million, 11 million, 15 million, the |RS
would not stop there. The |RS would see

how much -- what that price bought in
769

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upper deck-aig arb

Mather - Direct
terms of how much earnings were sheltered
during the period the entity held the
share?

THE WlTNESS: Absolutely. l think
that's front and center of the
governments position in this case. And
if we could -- l mean we can even quantify
it a little bit in the context of how the
Upper Deck transaction was supposed to
work. We -- | mean - or actually, let's
not talk about the Upper Deck transaction.

Let's just talk about the numbers
because if you look at -- both of the
valuation approaches by FMV and by Empire
essentially start with the value of the
entity, and then reach, at the end of the
day, a value for the interest that goes to
the charity,

And in both of those cases with
rounding errors really only, the value of
the entity, or the reduction from the
value of the entity to the value to the
charity, is a 95 percent reduction So

that only 5 percent of the value of the

770

lVlather - Direct

entity is determined to be the appraised
value of the firefighters‘ shares

And so what you have is, you have --
and then if you add in the other layer and
go back to the purely generic transaction
that l think some people have referenced,
is what you expected to have happen, at
least prospectively, is that the earnings
would stay relatively constant

But by not distributing dividends
which was the other central feature of the
program, was that the value of the cap
would build essentially from the retained
endings and so ~- and those retained
earnings are the income that somebody had
to report on their tax return.

So the deal was -- is that 90
percent of that increment would be taxed
to the charity, but then whoever appraised
it using this formula would appraise it
for 5 percent of the increase in value.

So if you had $10 million of
earnings that arguably -- were all

retained and arguably would increase the

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Oct 30 arb hearing 10/30/2006 10:25:00 Al\/l

Mather - Direct
entity value because now, you have
$10 million in cash that you didn't have
before, well, somebody - 9 million, l
guess of that 10 million was allocated for
tax purposes to the firefighters

But when you do the appraisal, that
10 million translates only to an extra
$500,000 of real money for the charity and
you present -- if the government presents
that argument in that manner to any court,
they win.

CHA|RMAN BYRNE: Are you suggesting
then that a determination with respect to
the validity of an SC squared transaction
is -- can't be done in a vacuum? lt has
to be done in terms of what, in fact,
happens or happened because you wouldn't
have that problem if, in the 18-month
period, the earnings went down, or if you
had a share in a company that took a hit
and decreased in value.

So you are not talking about
retained earnings, you are not talking

about a situation -- you know, best

772

Mather - Direct
intentions in the world, again
notwithstanding you are sheltering
losses and ldon't mean to put it that
way, but it happens

| mean it can happen in the economic
reality of any - the lRS wou|d, in
effect, take a look at that and say well,
the disparity is not there in terms of
earnings versus price for the shares We
will let it go. We won't penalize you for
trying.

THE WlTNESS: Well, the |RS
certainly likes to have it both ways lf
your hypothetical was that taxpayers went
into expecting to have earnings for the
next few yearsl and in fact had losses,
and then went back to the lRS, and said
well, we shouldn‘t be stuck just getting
10 percent of the losses This was a
sham. We should have 100 percent of the
losses

The |RS will say well, |‘m sorry it
may be a sham, but it's your sham, and you

are stuck with the form of the transaction
773

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upper deck-aig arb

Mather - Direct

that you chose. And there is a number of
cases that would stand for that, not
because in substance anything was really
any different, but because the taxpayer
doesn't really get to argue that the way
he put a deal together is a sham.

CHA|RMAN BYRNE: Yeah, no, no, no,
l understand what you are saying.

ARB|TRATOR MOXLEY: Let me ask a
follow-up question. Have you,
Mr. Mathers, had the opportunity to read
the reports of Mr. Burke and Ms. Burke?

THE WlTNESS: Yes, lhave.

ARB|TRATOR MOXLEY: lf l have
understood the way they have put all this
together, and the way you have just put it
all together, the two of you are, in
effect, giving us a different view of what
the cases say because what l understood
them to say was well, ultimately, the test
is, is there some substance to what the
charity got?

And the issues seem to flow a little

bit between well, you know, does it make

774

Mather - Direct

any difference whether it's 2 million, or
11.3 million, orthe like? And as l
understand the argument that was made, it
was well, certainly, if you had -- if the
transaction had been consummated in what's
been described, as you say, by some as the
generic SC squared, and if the charity had
gotten 11.2~based on a valuation, that
would have been so much substance that a
tax court would have said well, we are
going to let it go. So it's a different
standard, | guess. So maybe you could
comment on that?

THE WlTNESS: Well, l certainly take
a number of exceptions to Linda Burke's
conclusions One of her conclusions --
and l'm not sure if this was in the report
or her testimony because l did read her
testimony as well --is she seemed to
suggest that if we had another piece of
paper, which was some type of evaluation
report done at the time the shares were
bought back, that that made the deal

viable.

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Oct 30 arb hearing 10/30/2006 10:25:00 AlVl

Mather - Direct

ARB|TRATOR MOXLEY: lf you'd paid
fair market value?

THE WlTNESS: Well, if you actually
had somebody telling you. That's how l
understood her testimony is that if you
had that extra piece of paper that said
that was fair market value, then you could
win, And that's, in my view, a ludicrous
conclusion, to be perfectly honest,
because the litigation in tax shelters is
typically done on the basis of what really
happened here.

lt's not done on the basis of what
the Federal Circuit dennes economic
substance as or what, you knowl some other
court would say well, is ita subjective
factor or objective factors or one, or
both?

Those are nice arguments to put in a
brief, but the reality having been
there --the reality of how these
transactions work is the court looks at
what happened And when you are able to

present the case here based on the facts

776

Mather - Direct

you can't -- you can't come to the
conclusions that they have come to based
on the history of tax shelter litigation

And l think what Linda Burke is
focusing on is, she seems to be
excessively devoted to the form of the
transaction, which is, if you adopt a form
and you follow the form, and you have all
of your pieces of paper in a row, then you
win, or you have a chance -~ a 60 or
70 percent chance, l believe she said, of
winning.

That just isn't the way it works.
The pieces of paper in these cases, while
certainly, they are submitted as part of
the record of the casel is not how the
courts analyze these transactions

So whether -- you can call it
economic substance lwould prefer in
this case, a substance over form argument,
but she was excessively, in my viewl
caught up into the formalities of the
transactions So she was buying KPMG's

position way too much.

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upper deck-aig arb

Mather - Direct

Robert Burke's testimony and report
l think was a little -- a little harder to
judge what it really was because he kept
talking about the generic transaction and
the way that it was originally structured
l think really attempting to put the case
into a vacuum, if you will.

And what -- the problem with that
is, in my view, you could really separate
it into three kinds of transactions l
guess ‘{ou have the generic -- generic
transaction where the income stays pretty
steady and everything happens the way
maybe everybody grew the plan, and that
seemed to be what he was talking about

Then you have what you could call a
generic Upper Deck transaction, l suppose,
where maybe they had gone through the Put
process instead of doing the buyback
early.

And then you have the actual Upper
Deck transaction Well, the thing that
changed from the transaction in'a vacuum

to the transaction --the generic Upper

778

Mather - Direct
Deck transaction is that Upper Deck made
buckets full of money. And so then you
have to go into court, even assuming that
they had exercised the Put. Let's say
it's worth 11 million. lthink that the
appraisal is probably high, but let's say
that it's 11 million

Upper Deck saved 66 million of taxes
in exchange for that 11 million to the
charity, And when you present the case in
that fashion, you would like to believe
that the court might be bogged down in
some technical analysis or be looking at
the pretty pieces of paper.

That's not what happens because no
one would intend a transaction -- if you
are saying that there is a purpose in the
tax code to benth charities here. So
you are going to give $11 million to the
charity, which maybe should be deductiblel
and you save $4 million in taxes

But instead, they save $66 million
in taxes You got a benefit to the

taxpayer at least six times as much as the

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Mather - Direct
benefit to the charity? Well, l mean you
don't have to be a tax expert to
understand that's not really how the thing
is supposed to work.

And when you combine that with the
fact that this piece of paper was stripped
back and pared back, and all the rights
that would normally go to a shareholder
were essentially taken away before the
piece of paper was even given to them, and
because of the tax consequence associated
with that piece of paper, you would be --
any buyer of that paper, any real buyer,
would be looking at reporting that kind of
taxable income without getting any money.

You are basically looking at a pure
paper transaction that benefits the
charity $11 million and the taxpayers
$66 million

And you know, that's -- that's where
they would like to ignore the numbers the
facts, the argument -- the issues in the
cases and say well, you know, but if l

look at these 15 cases you know, you can

780

Mather - Direct
cite a proposition that if you have
donative intent, you win, but you can't do
that.

ARB|TRATOR MOXLEY: But is there a
point at which the amount that goes to the
charity is big enough that that alone
causes there to be substance, or is it
always in your view in terms of how the
tax court applies the case lam The
situation that you have to look at what
the balance is between the amount received
by the charity and the tax benth
received by the taxpayer and associated
persons?

THE WlTNESS: Well, if the charity
was getting $150 million, l think you then
have essentially where you should be
because the government has agreed to
basically bear 40 percent of the burden of
a charitable contribution And if it's
$150 million going to the charity and
Mr. McWilliam gets the $60 million
benefit, then, you know, that works

But we are not talking -- l mean
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Mather - Direct
that's the kind of frustrating part of
looking at this is that we are not
anywhere in the ba|lpark of where there is
enough money going to the charity, whether
it's 2 million, or 5 million, or
11 million, that any court would look at
this as being a transaction that possessed
the requisite substance to be recognized
for tax purposes

ARBITRATOR MOXLEY: So as long as
there is a disparity, your testimony is
the tax court is not going to recognize --
transaction?

THE WlTNESS: Certainly, if there is
$100 million that went to the charity and
$66 million savings, then you are in the
game, but not when you are talking 11,

CHA|RMAN BYRNE: You seem to be also
saying, lbelieve, that, again bad
terrninology, but the disparity between 11
and 66 is bad enough. Did lVlr. McWilliam's
Upper Deck make it even worse by making it
$2 million?

THE WlTNESS: Well, when you have no

782

Mather - Direct

chance at 11, how much worse could it be?
And that's essentially my conclusion

CHA|RMAN BYRNE: All right. All
right. So if nothing else, he saved
himself 9 million in cash going to the
charity, maybe wound up giving it to the
lRS, or supposed to give it to the lRS,
but at least since cash is fungible, you
get rid of the |RS with that 9 million
instead of giving it to the charity, get
the deduction, and still have to pay a
gajillion dollars based on the earnings

THEW|TNESS: Right. And there's --
if | might explain one other aspect of the
transaction that's troubling is assuming
nothing had changed in Upper Deck's
earnings and the valuation of 1.3 million
at the start essentially held true and
maybe went up a little bit, what was
really envisioned in this transaction was
a benefit of around 1.3 to 2 or $3 million
to the charity.

But one of the other factors that

the court looks at, and one of the issues

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Oct 30 arb hearing 10/30/2006 10:25;00 Al\/l

Mather - Direct
that's cited in the coordinated issue
paper is you look at the transaction cost
as welll because we have got a policy
premium here that's over $3 million and a
payment to KPMG over 500,000 and by the
time you add up all of those transactions
costs you probably have a payment of
close to $4 million, let's say, to give
the charity 2 million or1 million and a
half.

That would also be a factor that
would, l think, make the taxpayer's
position untenable in any attempt to
litigate those cases

CHA|RMAN BYRNE: And also in terms
of a technical point, when Upper Deck paid
the 2 million and filed the return for it
was '01 or'02?

THE WlTNESS: '02.

CHA|RMAN BYRNE: The 2 million was
paid in '02. At the time when the return
was filed some time in '03, all things
being equal, did the payment of the

2 million and the undoing of the original

784

Mather - Direct

deal nonetheless make it a tax sheltei“?

THE WlTNESS: No.

CHA|RMAN BYRNE: lguess that's what
l'm getting at, and maybe l misunderstand
everything that's going on, but in the
return then by having undone the tax
shelter, what is the lRS's problem? You
know hey, l made a mistake l didn't go
through it. You know, l'm showing the
income.

All that's happened here is l wound
up giving a $2 million charitable
contribution to the Austin Firehghters
Fund, for which l will or will not get a
deduction What‘s the lRS's problem?

THE WlTNESS: Well, the lRS's
problem is that in 2001 and 2002 on the
McWilliam Upper Deck returns that
90 percent of that in was, in fact, not
reported on McWilliam's return. And when
l talk about $66 million --

CHA|RMAN BYRNE: Well, presume that
it would be reported on the 2000 return

because l ended the tax shelter. that's
785

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1 Mather ~ Direct

2 what l'm saying. When |filed my return

3 for 2000 -- | asked you did l, in factl in

4 '02 -- let's say it's my return l undid

5 the tax shelter. l terminated it. l'm

6 out of there. You also then have to -- l

7 would presume that l had to show income.

8 |f l really wanted to get outl l

9 would have had to amend my ’01 return,

10 which | still could have done, and filed a

11 correct '02 return, and the `02 would

12 simply -- would show any and all earnings
13 for '02, would show a $2 million tax

14 deduction to the Austin Firethters Fund,
15 and my amended '01 presumably would pick
16 up whatever income that flowed through in
17 '01 and '02.

18 lf| had done that, notwithstanding

19 that l got a notice, notwithstanding that

. 20 things were disclosed, you know, l
21 disclosed lgot caught up in the whole
22 KPMG thing, in your opinion, would the lRS
23 have a problem with it?
24 THE WlTNESS: | don't think so,
25 That's basically what they are doing.
786

1 Mather - Direct

2 They are putting Mr. McWilliam in that

3 position with their adjustments l think

4 the only difference between what they are

5 actually doing and what would have been

6 done in your scenario is, they are not

7 allowing a $2 million charitable

8 contribution

9 CHA|RMAN BYRNE: For '02?

10 THE WlTNESS: For’02,

11 notwithstanding the fact that it was

12 really paid, their position was that it

13 was essentially the payment of a fee for

14 the firefighters to agree to enter into

15 this deal.

16 CHA|RMAN BYRNE: And they are not
17 allowing the deduction for the halt a

18 million or whatever it was to KPMG?

19 THE WlTNESS: ldon't recall that.
20 CHAlRMAN BYRNE: Okay.
21 THE WlTNESS: | think they might
22 allow a part of it.
23 MR. MchLL|AM: They are allowing
24 half of it.

25 CHA|RMAN BYRNE: Okay. Thank you.

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Mather - Direct

ARB|TRATOR KRAMER: | have a couple
of questions too.

CHAlRMAN BYRNE: We understand you
are not finished

MR. WAHLQU|ST: l understand

CHA|RMAN BYRNE: You started it.

ARB|TRATOR KRAMER: ln New York,
those of us who represent employers
basically know that when you go to human
rights on an employment discrimination
case, you are going to |ose.

So we advise our clients to prepare
their files for the appeal. lt sounds to
me the way you are testifying, that that's
basically the way most people who take a
difficult tax position consider the tax
couit. They play to the appea|. lf
that's so, my -- does the Circuit Court do
a technical analysis?

THE WlTNESS: Well, they certainly
take the record that's given to them. And
the problem that we would have in this
case is that this case is going to sink or

swim on a factual analysis So if you

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Mather - Direct
appeal, wherever you appea|, you are going
to be subject to review on a clear error
standard and that's certainly an uphill
battle.

ARBlTRATOR KRAMER: ls there a
difference in the factual analysis in your
view if -- that the Circuit Court would
make in trying to couch things in a
technical term possibly? ls there a
difference in the factual analysis if
there was a $2 million unnegotiated
redemption, as compared to a fair market
value $11 million redemption in accordance
with the Put?

THE WlTNESS: l don't believe there

is a difference

BY MR, WAH LQUlST:

Q. l want to follow up on this actually

because it is clearly one of the differences

between you and Mr. Burke.

Mr. Burke says what the |RS is

really upset about is the disproportionate or
uncommensurate, lthinkl is his term,

difference between what the firefighters got

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upper deck-aig arb

Mather - Direct
and the tax benefits to the taxpayer as l
understand it. Did you read his report?

A. Yes.

Q. Okay. And l guess lwant to take a
look at that. You disagree with his assertion
that that's not going to matter in the final
analysis; is that correct?

A. Yes, l do.

Q. And you have personal experience
litigating that sort of issue?

A. l do. Two of the cases -- well --

Q. Well, before we get to the cases,

l -- l will ask you about the cases in a
minute. Let me make sure | understand the
concept first.

Mr. McWilliam, let's suppose he had
given the Hrethters a dollar in 2001
charitable deduction His tax bracket »- he
would get a 40-cent benefit because marginal
taxes are roughly 40 cents?

A. Right.

Q. So firefighters get a dollar,

Mr. McWilliam gets 40 cents of tax benent, and

you are saying that the way the situation was

790

Mather - Direct
designed by KPMG is that Mr. McWilliam would
get -- let's say -- let's make it $100, okay?
He is going to have $100 worth of income, 90
per -- or would have, but 90 percent of it is
going to get shifted to the firefighters,
right?

A. Correct.

Q. So he would otherwise pay 40 percent
of that 90?

A. $36.

Q. He'd pay $36 of tax on the $90 that
got allocated to the charity. And the charity,
underthe scenario you are positing, based on
the FMV analysis and the Empire analysis
really got how much benefit?

A. $5.

Q. So Mr. McWilliam gets, under the
scenario that we are positing for the situation
the way it's designed, roughly seven times the
tax benefits of the amount that he gave to the
charity?

A. Correct.

Q. Whereas, if he had given them a

straight dollar cash, he would have got less

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Mather - Direct
than a dollar-for-dollar basis of tax benefits
right? 40 cents on the dollai’?

A. Yes, so it would be a $2 bene&t, if
he gave them $5 in cash.

Q. Okay. That's uncommensurate, right?
l mean the benefit to Mr. McWilliam is
uncommensurate with the benefit to the
firefighters with the charitable donation?

A_ Absolutely.

Q. And Mr. Burke says that doesn't
matter. You say it does matter; is that right?

A. | do.

Q. Okay. And the way this transaction
worked out, though, because Upper Deck made
more money than people expected have you done
a similar calculation or can you do a similar
calculation -- you said $66 million in tax
benths, right?

A. That's the amount that the |RS
asserted as additional tax liability to
lVlr. McWilliam for 2001 and 2002 combined

Q. And the -- if you look at the
$1.3 million donation to the firefighters

that's 40 times?

Mather - Direct
CHA|RMAN BYRNE: We can do the math.
Yeah.
Okay. lt's big?
Big.

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Q. And all of that is before we start
looking at what happens at the state |evel,
right?

A. Correct.

Q. OKay. Now, you say you have had
personal experience litigating cases where
there is an uncommensurate relationship between
certain issues, right? l cut you off a minute
ago when you were going to talk to me about a
case?

A. One of the cases that's cited in the
coordinated issue paper was a case that l tried
on behalf of the taxpayers and lostl called the
Leslie case, and there very clearly in that
case was measurement of the benefit -- the tax
benefit versus the economic benefit in the
transaction

lt wasn’t a case involving a
charity. So you weren't looking at the benefit

to the charity. You were looking at the profit
793

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upper deck-aig arb

Mather - Direct

potential. And in that case, the court very
meticulously went through the analysis of the
potential economic profit versus the tax
savings

And also in that case, looked
specifically at the manner --the transaction
costs related to the manner that the
transactions were done. So that was certainly
one case in my personal experience that got --
in which that was done.

Q. And that's a little different
because you are looking at a profit potential
versus charitable giving, right?

A. Yes, absolutely.

Q. But Mr. Burke, in his report, is the
one who made that substitution because he
couldn't find anything comparable to business
purpose or profit potential in this
transaction, right?

A. Right. right.

Q. Okay. Now, are you aware of other
cases that have addressed the sort of disparity
that you are talking about, whether or not that

can be a basis to attack a transaction?

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Mather - Direct

A. Right. Well, certainly, one of the
cases -- and l can't remember if this was cited
in the coordinated issue paper -- She|don vs
Commissioner, very clearly establishes the
notion that if the real economics of the deal,
whether in that case again, a profit motivated
transaction involving trading securities if
the economic potential is small in relation to
the claimed tax benefit, that that's absolutely
a factor that is taken into account, and can
serve as the basis for disallowing the
transaction as structured

And that case, the Sheldon case, has
been cited on several occasions subsequently
for that proposition in cases dealing with tax
shelters that are maybe more typical or more
comparable to the one that we have here. Not
again, a charity case, but other cases
involving business transactions
CHA|RMAN BYRNE: ln effect, part of

what l'm hearing ~- l probably just don't

understand it, but one of the problems

with the basic transaction was that it's

going -- it's 90 percent of the earnings

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Mather - Direct

90 percent of the profits 90 percent of
the increase of pronts are going to an
entity that's tax exempt

THE WlTNESS: Yes

CHA|RMAN BYRNE: So by deinition,
it's going to be benefit versus zero or
tax versus zero as set up. 10 percent

THE WlTNESS: Yes.

CHAlRMAN BYRNE: Tax on 10 percent
versus zero?

THE WlTNESS: That's absolutely a
feature of the transaction

CHA|RMAN BYRNE: All right. Are you
then suggesting that-- when you talk
about tax shelters they are -- not all
tax shelters as you point out, deal with
charitable entities or tax exempts There
are other ways to do it.

ls that ari inherent problem when you
use a tax exempt or a charity because the
disparity is always going to be there?

THE WlTNESS: Well, in terms of
having the issue of substance, l guess it

becomes -~ it becomes a problem, if you

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Mather - Direct
will, in maintaining the substance because
you don‘t really have two parties at
arms<|ength because one has to pay tax and
the other one doesn't

CHA|RMAN BYRNE: You don't have two
equal taxpayers l

THE WlTNESS: Yeah.

CHAlRMAN BYRNE: They are at
arms-length, but you have two different
systems

THE WlTNESS: So that causes greater
scrutiny of the transaction And then
where the tax shelter aspect of this comes
in, is in the way the transaction was
designed and structured so that the
economic benefit associated with that
income doesn't go to the charity. That's
the tax shelter.

CHA|RMAN BYRNE: Okay. Thank you.

ARBlTRATOR KRAMER: l don't have the
record before me, but both Burke experts
had addressed the question of the
disparity, and they both said that there

were situations under the Code that --
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Mather ~ Direct

where the disparity occurred but it was
accepted The tax treatment was accepted
nonetheless and l can look at the record
at some point.

THE WlTNESS: l did see that.

ARB|TRATOR KRAMER: Whether they are
historic credits and rehabilitation of
buildings or whatever it happened to be.
How do you reconcile that with your
position that the disparity alone is
probably what will be looked at by the
courts?

THE WlTNESS: Well, l may have
overstated if l said the disparity alone
was the problem.~ The disparity alone
dictates the outcome, if you will. But
the basis of the case is that in essence
this -- these shares of stock that went to
the firenghters were unsa|eab|e,
non-voting, didn't really have any
economic benefits associated with them at
all. And that's -- that's the nub of the
problem there is that they were given

essentially a bald piece of paper. And

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Mather - Direct

from that plain piece of paper supposedly,
Mr. McWilliam saved $66 million And so
the result -- the courts are very much
result oriented in this area, and seeing
that result will cause the court to rule
against the taxpayer.

But they will rule based on an
analysis of factors that show that really,
there was no substance to this transaction
because even in the transactions that the
Burkes referenced, if you have a
transaction where there is no economic --
no economic substance to the way the deal
was structured, the resultwill not app|y.

ARB|TRATOR KRAMER: And what if the
bald piece of paper, the way the
transaction was structured permitted the
holder of those shares to participate in
the increase in value or decrease in value
of the corporation represented by the
stock?

THE WlTNESS: Well - and you could
argue that it does in this case, but the

problem is ~- the problem with the

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Mather - Direct
structure of this transaction is that they
only get to participate in 5 percent of
that increase or decrease While they
purportedly are assigned 90 percent of the
tax burden, and if you analyze the
transaction that way, and you have to
because | don't think anybody argues that
it's anything different, then you end up
with such a large disparity between what
should happen, and what did happen, or
what was claimed that it just is --it
just can't fly.

ARBlTRATOR KRAMER: So even with the
economic result of participation in the
increase or decrease in value, overall
value of the enterprise, the disparity
seems to be the determinative factor.

THE WlTNESS: Well, it's a critical
factor in this case. There is no question
about that, and it's in part numbers And
the reason that the Upper Deck case is a
bad case if you are looking at it --
choosing one to try is the numbers got to

be really big, and you got $66 million,

800

Mather - Direct

and so it's offensive almost - offensive
is probably too strong, but, you know,
it's problematic just because of the
numbers involved

MR. WAHLQUlST: Can |clarify the 66
because l think it's 88 that they owe the
federal government, isn't it?

THE WlTNESS: Well, 88 with
interest, 66 is the tax. So you got, l
think, what some have referred to as the
accident, which is Upper Deck made all of
this income, and that wildly makes the
numbers even bigger, and the disparity on
a dollar basis even greater.

But the problem with the basic
structure in this case is that it's
designed to give 5 percent of the benefit
in exchange for taking 90 percent of the
tax. That's the plan, and that's why it
fails.

CHA|RMAN BYRNE: Assume everybody
knew that the earnings were going to
explode, what l hear you saying is --

nothing sure -- but if, at the time the
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upper deck-aig arb

Mather - Direct
deal was -- if, at the time the -- |‘m
going to call it the KPMG product - was
entered into, anyone knew that the
earnings were going to explode, or whether
they knew the earnings were going to
explode or not, | almost hear you saying
that the KPMG product wouldn't work
because on any factual analysis of the
KPMG product, nobody goes into a tax
shelter if you think you are going to --
if you can't shelter a substantial amount
of your tax. And if the disparity is
90 percent of earnings versus whatever it
is you give to the charity at the end of
18 months your only hope is if you give
to the charity enough to offset the
disparity.

THE WlTNESS: l think that's right.
But in this casel you essentially have one
appraisal that says that number is
5 percent, and a provision in the contract
that says you are supposed to follow the
same methodology essentially. So you are

going to get 5 percent again

802

Mather ~ Direct
CHA|RMAN BYRNE: Right. So you're
walking into »- that's why l'm calling it
the KPMG product
THE WlTNESS: Right.
BY MR. WAHLQUIST:
Q. lf we are looking at the beneits --

you have just been talking about the federal

.benent, right?

A. That's right.

Q. And there was a state -- there is
extra state taxes now owed because we moved the
income back from one taxpayer to the other,
right?

A. Right.

Ct. How much is that?

A. l haven't computed it, but typically
as a rule of thumb we use is that the state
benefit is a fourth of what the federal benefit
is in California, so an extra 15, 16,

17 million

Q. l thought it was 17.

A. Okay, it could be.

Q. So if you are going into court

representing the government in this case, are

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Mather - Direct
you attacking the 17 million on top of the
66 million in making your argument?
A. No.
Q. Why is that?
A. l'm not-- l don't care --
CHA|RMAN BYRNE: That's a different
govemment.
A. lt's a different govemment. |
don't care if the taxpayer lives in Califomia
or in Florida, where they have no state income
tax. ln this case, | don't need the state tax.
Q Fai|s in Nevada then, too?
A. lt fails in Nevada, too.
Q Where it`s zero?
A. Yeah, and l have not seen
typically »- and certainly in the cases that l
was involved in, we didn't do a state tax
analysis also, but
CHA|RMAN BYRNE: When you are in the
governmentl what is the attitude of the
taxpayer's argument? "Hey, come on, guys.
The state is going to follow in lock step.
You can't hit me that hard because the

size of the welt is going to grow by

804

Mather - Direct
15 percent. You got to keep that in mind
or else you are going to put me out of
business."

THE WlTNESS: ln my experience, the
response of the |RS is usually "Well, we
had better move quickly to get to you
before they do."

ARB|TRATOR MOXLEY: l'm sorry. What
is the significance -- assuming that l
have -- my recollection is correct of the
fact that the Congress went back at some
point, and said "We are going to permit,
iri the context of sub S corporations
certain provisions as to charity that seem
to relate to, in one way or another, to
what has been done here.

THE WlTNESS: Right. Well, l think
if you are looking at the Congressiona|
intent there, my view is that what they
had before is a restriction that
essentially prevented charities from
making this type of investment, and
Congress felt that was overly restrictive,

and that it would be appropriate for a
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upper deck-aig arb

Mather ~ Direct

charity, in the right circumstances to
actually invest in the stock of an entity
like this

But | think as you can see from the
case here, and probably the testimony of
the firefighters and you know, nobody was
looking at this as an investment This
was taking something on the fly. They
would agree to except this pretty piece of
paper and maybe they would get some money
out of it down the road.

And you know that, in itself, l
think is a pretty telling statement of
what the substance of this transaction is.
if you are looking for substance over
form, and l believe that one of the panel
members was suggesting this in the nrst
half of the proceeding, is that how is
this any different than just some kind of
a pledge to give some money at some point
in the future?

Because that's really what happened
here in terms of economics is -~ again to

harken back to my days at the |RS -- my

806

Mather - Direct

theory was always when l was evaluating

these deals and l looked at 30 or 40 of

them of similar kinds, is that you follow
the money if you want to know what the
economic substance is, and that's not
exactly a sophisticated argument, but it
usually works

BY MR. WAHLQU|ST:

Q. The coordinated issue paper, you
indicated you had reviewed that?

A. Yes.

Q. The coordinated issue paper in
discussing the grounds for disallowing the
allocation of income issue identihes two
doctrines A Doctrine A, substance over form
doctrines and Doctrine B, economic substance
doctrines Do you know that?

A. Yes.

Q. ls there a difference in your mind
between those two?

A. There isa little difference ln
substance over form, usually something
happened And so the challenge or the inquiry

is to determine well, what really happened

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Mather - Direct

here?

And that would be, like ljust
mentioned what really happened here is we
promised to pay them some money at some point,
and we did So it involves more of a
determination of well, if it didn't happen the
way that we said that it happened then what
did happen?

And so that's kind of the
distinction l would draw between substance over
form is there usually is involved a conclusion
of what did happen ln economic substance,
they say okay, nothing of substance happened
the way you said it did. We don't really carel

you know, l mean -- and there wasn't anything

else. l mean this was a deal that was -- whose

only purpose was to create the tax benefits

Q. As l understand the lRS's argument
in Part A, substance over form, they are saying
well, if something did happenl you didn't give
them a charitable donation You paid them an
accommodation fee to facilitate tax avoidance;
is that correct?

A. Right. That'stheir position

808

Mather - Direct

Q. Did you see an analysis of that
position in either of the Burkes' reports?

A. No.

Q. And that was the lRS's Fosition A?

A. Position A, yeah.

Q. There have been different terms used
iri these proceedings to point out the fact that
quite a number of SC squared transactions took
place. l think "template dea|" was used, and
Mr. Burke had his own reference to that. But
the idea that there was 58 of these SC squared
transactions and the number might affect how
these cases would come out?

A. Yes

Q. Have you seen that reference?

A. l have seen the reference

Q. Now, lVlr. Burke says -- described
that in his testimony as a "wild card he wasn't
sure how to assess."

A. Right.

Q. How would you assess it if you
could?

A. Well, l believe even Mr. Burke

acknowledged that it wasn't a good thing, which
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Mather ~ Direct
l think obviously, you must. But particularly
if you are looking at potentially litigating in
the tax court, who acknowledges this kind of
gatekeeper function The notion that there
would be a lot of these cases out there that
could be affected by the impact in one case
would be something that would be extremely
negative

Q. You have, in your testimony today,
talked about the prospects for success in court
on the SC squared transaction And the way l
understood yourtestimony, l understood you to
be addressing the allocation of income issue?

A. Correct.

Q. Did l ~-

A. Correct. so far.

Q. -- okay. And would you look at some
of the issues differently than that?

A. Oh, well, the second issue is the
second class of stock issue which the ~ that
being that something in this transaction caused
there to be a second class of stock, and that
would disqualify Upper Deck's S corporation

election

810

Mather - Direct
l have looked at that, and l believe
that there is a good likelihood in that case
that the taxpayer would prevail somewhere, l
would say, in the middle.

Q. Would you expect that might be
affected by the template nature of the
transaction in any way?

A. Well, again, the reality in these
cases is that they are very much end driven
And so if you come in with the allocation
argument, and the court reacts iri the manner
that l'm convinced they would react, then you
have the second issue of is that going to taint
or impact your chances on the second class of
stock issue?

And l think there is a good
likelihood that that could have a very negative
effect on that issue. And more specifically, l
think that what the governments ultimate
position in these cases is likely to be, is
that that share certificate had -- you know
that piece of paper was nothing more than a
piece of paper, and that the formula that was

implemented in the Put, which was essentially

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upper deck-aig arb

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Mather - Direct
appraising it iri a vacuum without looking at
really what this -- what the beneits and
burdens of this piece of paper were -- ends up,
l think under the regulation gives the
government a decent argument to prevail on
that_
Number one, it was primarily
intended to avoid the one class of stock or the
second class of stock issue. And number two,
that it establishes a value that's materially
different than the real fair market value.
CHA|RMAN BYRNE: isn't that -- what
l also hear you saying, however, is that
the second class of stock issue being an S
corp. shareholders worse nightmare is the
|RS’s biggest club to reach some
compromise on the first issue lt's like
we are all big boys and girls. lf you
don't settle with me, l'm going to go with
you on two fronts, and your worst
nightmare is the second front, your status
as an S shareholder.
ls that being unreasonable from the

lRS's point of view?

812

Mather - Direct

THE WlTNESS: No, lthink that's a
fair characterization of what they are
doing, number one. The point at which l
would differ from, at least Linda Burke --
and l can't remember specifically what
Robert Burke said on this -~ is that
that's a genuine risk.

l think there is a chance the
government could prevail on that, They
wanted to dismiss the argument as being
totally specious and ljust don't think
that it is lthink there is a general
actual risk of losing that issue if you
don't settle the case,

CHAlRMAN BYRNE: And that's the kind
of franchise -- excuse the expression --
but that's the kind of franchise issue
that is rare that someone wants to win or
lose.

THE WlTNESS: Right. lt's quite
rare. lthink l mentioned in my report,
it's very atypical of the typical tax
shelter situation because usually, all you

lose is your beneEts.
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1 Mather - Direct

2 CHA|RMAN BYRNE: That's what --
3 yeah. That's right

4 THE WlTNESS: But here, you could
5 have a bigger loss You could have the,
6 you knowl the catastrophic event. So in
7 terms of evaluating whether you settle or
8 not, you have to take that into account

9 ARBlTRATOR MOXLEY: What isthe
10 extent of that loss if you lose it? lf

11 you lose the status during the period

12 where a particular investment is relevant,
13 or all times going fonivard?

14 THE WlTNESS: You lose it for when
15 it happens and the succeeding -- l

16 believe it's five years before you can

17 elect S status again So you have a

18 five~year period where you have got double
19 tax essentially,

20 BY MR. WAHLQU|ST:
21 Q. And that begins with the creation of

22 the second class of stock?

23 A. Yes,

24 Q. Which is the 2001 transaction?

25 A. That would be the 2001 transaction

1 Mather - Direct

2 Q. ln your opinion, would the |RS still

3 have challenged Upper Deck's and

4 Mr. McWilliam‘s SC squared transaction if they
5 had not ~ if there had been no December 2002
6 repurchase?

7 A. Absolutely.

8 Q. And in your opinion, would the

9 settlement offer extended by the |RS in Apn`l

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of 2005l have been the same, regardless of

11 whether or not the December 2002 transaction
12 took place?

13 A. lt would have been identical.

14 Q. Can you comment on whether or not
15 the 2002 transaction affected the prospects for
16 the SC squared transaction in this case

17 standing up in litigation?

18 A. l think l may have already mentioned
19 the chance of success was negligible, and it
20 can't have a material effect on a negligible

21 chance. lguess if you have a 2 percent chance
22 of success what does it go to, 1.5?

23 Q. Well, l guess that's going to be my

24 next question l did it with Mr, and

25 Mrs. Burke. So lwill do itwith you.

upper deck-aig arb

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Mather - Direct

Would you - can you put a number on
that?

A. l think the chance of success on the
Upper Deck transaction, assuming that the
December 2002 transaction had not occurred is
substantially less than 10 percent l'm
personally of the view that there is no such
thing as a 100 percent case, but you get close
with this one in my view.

.So l don't think there is a material
difference between that chance of success and
the chance of success when they did -- when
they did --the way they actually did it.

Q. Now, have you had occasion to deal
with appraisals and fair market issues in tax
market litigations?

A. Many times

Q. lthought l heard you say that the
appraisal methodology and the fair market value
appraisal didn't come to fair market value

Did l hear you say that earliei’?

A. That's my opinion, yes, in this
case.

Q. Can you explain why?

816

Mather ~ Direct
MR. KUSHNER: l don't think this is
in the report, and lwould like to be
enlightened
CHA|RMAN BYRNE: We don't have to go
into that for all intents and purposes
This is the not witness to question him on
that.
MR. WAHLQU|ST: l will withdraw the
question
CHA|RMAN BYRNE: Sustained.
BY MR. WAHLQU|ST
Q. Now, Mr. McWilliam did not claim a
charitable deduction on his 2002 tax return?
A. That's correct
Oh, excuse me, his 2001 tax return?
That's correct
Or his 2002?
Or his 2002 tax return,

P.>D.>p

Could he have claimed it in 2002?
A. He could have claimed it in --the
benefit of it in 2002.
Cl. Could he have claimed it iri any
other years?

A, Well, the reason -- Mr. McWilliam‘s
817

Page 814 - 817

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upper deck-aig arb

Mather ~ Direct
2001 return, he had negative taxable income
so -- negative adjusted gross income So any
amount claimed as a charitable contribution in
that year, he wouldn't have had a benefit from.
But he gets to carry it forward, and so if
there was a point at which his income became
positive, and if that was today, then he would
still be able to claim that.

Obviously, now that he settled he

can't claim it. But for the settlement, he
would be in a position to claim that whenever
his income crossed over -- his adjusted gross
income crossed over to the pcsitive.

CHA|RMAN BYRNE: So he would have
been able to claim, as a charitable
deduction, the then fair market value of
the piece of paper he gave to the Austin
Firefighters Fund?

THE WlTNESS: Right. lf you were -~
except if the deal survived and there was
really a charitable contribution there, it
would have occurred in 2001 when he handed
over the piece of paper, and he could

claim it whenever he could use it

818

Mather - Direct

essentially,
BY MR. WAHLQU|ST

Q. You are alluding to the $1.3 roughly
million figure »~

A. Right.

Q. -- of the fair market value equal -~
assuming that's fair market value?

A. l will say FMV.

Q. FMV. Okay.

A. Yes, the appraisal. Just to
clarify, that's not to suggest that l agree
that 1.3 was really fair market value.

Q. lt's nominal -- l understand

CHA|RMAN BYRNE: Whatever it was
THE WlTNESS: Whatever it was

BY MR. WAHLQU|ST

Q. Now, the --in your opinion, did
Mr. McWilliam's not taking a charitable
deduction for the tax year 2001 for that
donation to the Austin Flrefighters affect the
way he was treated by the |RS in any manner?

A. Not in any manner.

Q. ln your opinion, does his not having

taken that deduction did it diminish his or

819

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Mather - Direct
Upper Deck's prospects of succeeding in

litigation in the tax court?

A. No.

Q. No?

A. No.

Q. You have reviewed the policy?
A. Yes.

Q. And have you reviewed the provisions
of the policy that address something called an
"offsetting benefit“?

A. Yes.

Q. And you have reviewed those portions
of Mr. Burke's report that address offsetting
benefit as well, right?

A. Yes.

Q. Okay. ln your opinion have there
been any offsetting benefits?

A. No, and l don't believe in
Mr. Burke's opinion there have been any
offsetting opinions

Q. Can you elaborate on that?

CHA|RMAN BYRNE: lt's not an issue

A. An offsetting benefit --

CHA|RMAN BYRNE: Burke didn't say

820

Mather - Direct

there was a -- both sides agree. ln their

writing, both experts agree that there was

no offsetting benefit That's what l

read No?

MR. KUSHNER: ln my understanding of
lVlr. Burke's report is that since he didn't
know lVlr. McWilliam's tax basis he was
unable to say whether there was an
offsetting benefit

CHA|RMAN BYRNE: Unable to say
whether there was an offsetting --

MR. KUSHNER: Yes.

CHAlRMAN BYRNE: -- okay. ldidn't
mean to overstate

MR. KUSHNER: That's okay,

BY MR. WAHLQUlST:

Q. Can you elaborate on the likelihood
of there ever being an offsetting benefit?

A. Well, there is a theoretical
possibility that at some day there could be an
offsetting benent. But in one of the memos
that Mr. Burke himself authored that was
provided to me within the last week, he

suggests that it's more theoretical than real
821

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upper deck-aig arb

Mather - Direct
Q. Those were his words?
A. Close to it. That's the substance
of it.

ARB|TRATOR KRAMER: ls that so, even
if he sells the company?

THE WlTNESS: lf he sells the
company, that's an event where it could
matterA But again if he sells it before
he dies and he gets a basis step up »~ l
mean there are so many events that could
cause that not to matter that it's really
speculative

Mr. Burke's precise analysis was
that this is a potential issue that is
probably manageable by the company so that
it may never -- may never even occur.

MR. KUSHNER: lf Mr. Wahlquist wants
to offer that document in evidence, l
certainly have no objection

MR. WAHLQU|ST: Let me just ask
this

BY MR. WAHLQU|ST:
Q. As we sit here today, are you aware

of any offsetting benefit that has been

822

Mather - Direct
realized as a result --

A. No. No.

MR. WAHLQUlST: l have nothing
further.

CHA|RMAN BYRNE: Let's go off the
record for a moment

(Discussion off the record.)

CHA|RMAN BYRNE: We will take our
lunch break now. lt is now 12:35. Please
be back here at 1;30. We have a number of
things to do. We are going to finish your
testimony. We are then going to go
through a couple of other procedural
matters that have come to my attention
including our scheduling Even though you
are technically on cross or about to go on
cross no prohibition You can talk to
whomever you want. Just don't talk about
yourtestimony. See you in 55 minutes

(Luncheon recess taken at

12;35 p.m.)

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Oct 30 arb hearing 10/30/2006 10:25:00 AlVl

Mather - Direct
AFTERNOON SESSlON
(Time noted: 1;35 p.m.)
STEVEN RAY MATH ER, resumed
and testiied as follows:
CROSS-EXAM|NAT|ON
B¥ MR. KUSHNER:
Q. Mr. Mather, l'm going to read you
from page 12 of your report, and |‘m going to
ask you if that is still your opinion
"As was true with most 199OS
'technica|' tax shelters, the SC squared
transaction probably does not run afoul of any
statutes or regulations The SC squared
transaction was tailored to fit precisely
within the literal language of the statutes and
regulations."
ls that still your opinion sir?
A. That's right
Q. And reading to you from your
rebuttal report, page 4:
"As is typical with the vast
majority of tax shelter legal opinions issued
the legal analysis is substantially correct,

but simply has nothing to do with the economic

824

Mather - Cross
reality of the transaction, The SC squared
transaction may possess the least economic
substance of any transaction in the history of
tax shelters."
ls that still your opinion, sii’?
A. That's right.
Q. Now, let's turn to the economic
benefits or economic reality. ls it fair to
state that the critical issue, as you see it,
is whether any "economic benefits inured to the
Austin Fire&ghters as a result of its
ownership of the shares"? That's from page 15
of your report.
A. Well, any?
Q. Would you like the question reread
sir?
A. Yes.
CHA|RMAN BYRNE: No. You know what
would be more usefull respectfully? Put
the two reports in front of him.
ARBlTRATOR MOXLEY: What's the
exhibit number of the rebuttal report?
MR. KUSHNER: There was no exhibit

number. We got them too late, both sides
825

j PAGE____:;S Page 822 - 825

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Mather - Cross

2 to mark them.

3 THE WlTNESS: Which page was it?

4 MR. KUSHNER: Page 15, last

5 paragraph This is the main report

6 ARBlTRATOR MOXLEY: Does anybody

7 have an extra copy of the rebuttal report,

8 by the way?

9 MR. WAHLQU|ST; l can probably print

10 one for you later today.

11 CHA|RMAN BYRNE: Okay. Go ahead

12 A. Okay. l see that it says "lt's

13 important to examine," is that what you are

14 referring to?

15 Q. Yes. Yes. You also refer to the

16 substance of the Austin Firefighters non-voting

17 stock as the critical issue That's the same

18 paragraph, sir?

19 A, Yes, yes

20 Q. And is it your opinion that this is

21 a very fact-intensive inquiry?

22 A. Yes.

23 Q. As a matter of fact, the coordinated

24 issue paper stated didn't it, that you had

25 a -- l'm quoting, "You had to conduct a certain '
826

1 Mather - Cross

2 analysis of the facts to see whether the true

3 substance of the transaction is different from

4 its forml or whether the form reflects what

5 actually happened"?

6 A. Okay.

7 Q. lt sounds fair?

8 A. That's fair.

9 Q. And also, it involves an intensive

10 factual inquiry, doesn't it?

11 A. That's true

12 Q. Now, would you agree that in this

13 case, the stockholders agreement conferred an

14 economic benefit on Austin if its stock

15 increased in value?

16 A. You are referring to the original --

17 the March 2001 agreement?

18 Q. Yes, sir. |‘m referring to --

19 CHAlRMAN BYRNE: Take that as a

20 given Whether he agrees or not, it

21 conveyed an economic benth to the Austin

22 Firefighters

23 MR. KUSHNER: lt's part of

24 Exhibit104, and l think it's in that

25 binder we put before you,
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upper deck-aig arb

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Oct 30 arb hearing 10/30/2006 10:25:00 All/l

Mather ~ Cross

CHA|RMAN BYRNE: Okay. All right.
You know what? l don't think it's
necessary

MR. KUSHNER: Well, l'm going to be
asking a lot of questions about this
stockholders agreement

CHA|RMAN BYRNE: l'm not sure l’m
going to let you because he is not-- put
it in front of him, if you want. Let's
see how it goes Put it in front of him
because it says what it says lt was
intended to do what it was intended to do.

And the answer to your Hrst
question is -- did the share of stock -~
was the share of stock intended intended
to convey an economic benefit to the
Austin Firefighters which l believe was
your first question

MR. KUSHNER: l hate to disagree
with the Chairman. My question was
whether this conferred an economic
benefit

CHA|RMAN BYRNE: And the answer to

either question is yes

828

Mather - Cross
MR. KUSHNER: Thank you.
BY MR. KUSHNER:

Q. Now, is it also correct that that
benefit was conferred by the Put exercisable at
appraised fair market value, which commenced a
little over two years after the date of the
shareholders agreement'?

A. No.

Q. Oh, really, sir. Would you like to
look at Section 5? You did look at Section 5,
didn't you?

CHA|RMAN BYRNE: Mr. Kushner, it
says what it says Why did you say no?
THE WlTNESS: l understood his
question to be that the source of the

economic benent was paragraph 5, and
that's not the source
BY MR. KUSHNER:

Q. Was it a source'?

A. lt could have been a source, yes

Q. Were there other sources in this
shareholders agreement of possible economic
benefit to Austin?

A. Well, there was a right of Hrst
829

Page 826 ~ 829

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Mather - Cross
refusal, and that could confer economic benefit
if it was exercised On the premise that if it
were matched then some benth could go to the
charity from the purchase of the shares

Q. Were there any other sources of
possible economic benent in this shareholders
agreement benefit to Austin?

A. | don't recall.

Q. Take a look at Exhibit 7, please,
which is -- did we put that binder in front of
you? We didn't?

A. Yeahl lthink l have 7.

Q. No, lhad a thinner binder. We
haven't distributed that? l'm sorry.

MR. KUSHNER: (Handing.)
CHA|RMAN BYRNE: Okay.
BY MR. KUSHNER:

Q. Would you agree with Nlr. Frydman l
quoting from Exhibit 7, which is his e-mail of
December 13l 2000 to various persons l'm going
down to Subitem B about half way down the first
page, "As a practical matter, the redemption or
'Put' right in favor of the tax exempt entity

shares increases the value of the non-voting

830

Mather - Cross
shares potentially by a very significant
amount."

Would you agree with that statement?
"Which in turn means that the value of the
charitable contribution by the contributing
shareholders will be greatly enhanced."

A. So in concept, lwould not agree
But as a practical matter, what really happens
l probably would agree because l think it sets
an artificial value.

CHAlRMAN BYRNE: Let's keep using
the same terms One, again Byrne's --
the panel does not sleep in the park
theory. You have got a closed
corporation lf there is value to the
Austin Firenghters, it comes from the Put
because the right of first refusal, l
would be shocked if the right of--
nonelectrically shocked -- if the right of
first refusal comes into play at any point
in time, all right?

So it's the Put that gives it value
The Put has value to the charity. lt

there is an absolute right, the Put can't

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Mather - Cross
be refused at the time of the Put. And at
the time of the Put, there is a high value
placed on the shares that are being bought
back, right?

THE WlTNESS: Right.

CHA|RMAN BYRNE: Remember, economic
benefit to the charity. How the value is
placed on those shares per the shareholder
agreement is by a fair market value
analysis/appraisal. Okay?

THE WlTNESS: Okay.

CHA|RMAN BYRNE: So we go back to
the question Per the shareholders
agreement, the economic value of the Put
is to be determined by a fair market
value/appraisal of the shares?

THE WlTNESS: Correct.

CHA|RMAN BYRNE: Okay, let's go from
there The higher the price, the higher
the economic value Go,

BY MR. KUSHNER:
Q. You do know, don't you, that
Mr. McWilliam considered that Put to have

substantial economic benefit?

832

Mather - Cross
MR. WAHLQUlST: Lack of foundation
CHA|RMAN BYRNE: To the share -- to
the -- he would have to. His intent would
have to be to provide an economic benefit
to the charity.
THE WlTNESS: But l don't know if .
that was in his mind from the Put,
CHA|RMAN BYRNE: Thank you.
BY MR. KUSHNER: ~
Q. Have you looked at Exhibit 171 --
that's in -- everything l refer to, unless l
say otherwise is in the binder l have put
before you.
CHA|RMAN BYRNE: Okay. lt's the
resolution of the Board of Directors
BY MR. KUSHNER
Q. Have you seen this resolution
before?
A. Yes, l have
Q. lt was part of your review?
A. Yes.
Q. lsn't it clear from that resolution
and from the share purchase agreement that

followed that Mr. McWilliam wished to

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upper deck-aig arb

Mather - Cross
extinguish Austin‘s Put?
MR. WAHLQU|ST: l object
CHA|RMAN BYRNE: Sustained. lt says
what it says. |f the Put was extinguished

by virtue of that agreement, it calls for

a legal conclusion in any event. And with

all due respect to the legal expertise of

this witness, stay away from my territory.
MR. KUSHNER: | would just argue

that if the shareholder deemed this

material -- this Put provision, that is

some evidence that it was material.
CHA|RMAN BYRNE: Such is the

presumption. Accepted.

BY MR. KUSHNER:

Q. l would like to discuss with you
some other parts of the shareholders agreement,
which is part of Exhibit 104.

A. ls that in the small bindei’?

Q. lt should be in the small binder.

ARBlTRATOR KRAMER: lt's in the
pocket.

CHA|RMAN BYRNE: |n the pocket,
right up front.

834

Mather - Cross

A. Okay. All right. | have it.

Q. Did you consider, in arriving at
your opinion, that what Austin got was a piece
of paper that in any sale of Upper Deck, that
sale would be subject to Austin‘s Put right if
it was then exercisable? |‘m referring to
Section 6.1 captioned "General."

CHAlRMAN BYRNE: Section 6 was
designed to protect the Put. That's why
they call ita "drag-aiong right." Okay,
so if Austin FireEghters -- if someone
bought out Upper Deck, Austin Firefighters
still had an exercisable right against the
new owner. ls that the basis?

MR. KUSHNER: Yes, sir.

CHA|RMAN BYRNE: And therefore, the
Put orthe share of stock nonetheless had,
or was intended to have, economic value to
the charity. Every one of the panel
agrees with it--

ARBlTRATOR MOXLEY: Subject to
whether or not it's available after the
Put expired

CHA|RMAN BYRNE: Subject to whether

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Mather - Cross

2 or not it's available afterthe Put

3 expired

4 MR. KUSHNER: ldid qualify the

5 terms by using the language "if then

6 exercisable."

7 CHAlRMAN BYRNE: Yes, absolutely
8 That was just to show that the other

9 members of the panel are a hell of a lot

10 more smarter than l am. Go ahead.

11 BY MR. KUSHNER:

12 Q. |n arriving at your opinion that

13 what Austin received was a piece of paper, did
14 you consider the fact that if the voting

15 shareholder of Upper Deck agreed to sell the
16 company in whole or in part, then each

17 shareholder was entitled to receive the same
18 consideration per share as each other

19 shareholder, irrespective of whether or not

20 such shares were voting or non~voting shares?
21 l'm referring to Section 6.2(a) and (b). Did

22 you consider those provisions, sir?

23 A. Yes.

24 Ql And of course, they didn't influence

25 your opinion that this was a mere piece of

836

1 Mather - Cross

2 paper that Austin was getting?

3 MR. WAHLQU|ST: Argumentative.

4 A. lt didn't change my opinion,

5 Q. And if Mr. McWilliam exercised his

6 warrant to purchase Upper Deck voting common
7 shares while Austin was a shareholder, wasn't
8 that an economic benefit to Austin?

9 A. lt was non-voting shares, | believe.

10 Q. That's correct, sir.

11 A. Could you repeat that question?

12 MR. KUSHNER: Shall l, or will

13 Ms. Gi|more repeat it?

14 CHAlRMAN BYRNE: The answer is yes.
15 MR. KUSHNER: Her voice is so much
16 more enchanting than mine

17 CHA|RMAN BYRNE: Do we really have
18 to confer on that, or can we agree?

19 (Record read)
20 MR. WAHLQU|ST; incomplete

21 hypothetical

22 THE WlTNESS: Obvious|y, it was

23 non-voting.

24 CHAlRMAN BYRNE: Yes. |'d be

25 willing to determine, l believe | think we

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z PAGE 778? Page 834 - 837

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upper deck-aig arb

Mather ~ Cross
all would, that any time that Austin got
something of value would -- whether it be
a negotiable instrument, a transferrable
instrument, a saleable instrument, cash,
negotiated check, that Austin Firefighters
got something of value, and that it
conveyed -- "it" whatever "it" was, the
cash, the blah, blah, blah, b|ah, blah
conveyed an economic benefit to Austin
Firethters. So let's move on.

THE WlTNESS: But in this instance,
at least by designl the warrants were, l
believe, intended to be dilutive, and
therefore, may have been a negative
consequence to the hrefighters.

CHA|RMAN BYRNE: Listen to the
question

THE WlTNESS: Okay.

CHA|RMAN BYRNE: Benefit to Austin
Firefighters who put out nothing for this
transaction

THE WlTNESS: Right. But as l
understood the question it was with the

exercise of the warrants, conferred

838

Mather - Cross

economic benth on the firefighters And

l think speciHcally with respect to the

warrants, the answer was probably no

because they are diluted, even though
there is an enhancement of value of the
company, there is a dilution in their
interests of a greater -- once the

warrants are exercised

CHA|RMAN BYRNE: Fair enough.
BY MR. KUSHNER:

Q. Well, you do know, don't you, that
Fair Market Value |nc. appraised the non-voting
shares as if the warrantsl in fact, did dilute
those shares?

A. Correct. Correct.

Q. Have you calculated the amount of
money McWilliam would have to pay Upper Deck in
order to exercise his 82,800,000 warrants at
.148 per share?

A. l believe that was 12 and a quarter
million, give ortake.

Q. We agree on that at least And the
value of Austin shares would appreciate if this

additional money was put into Upper Deck?

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Mather - Cross

A. Yes.

Q. Would you also agree that if Austin
did not exercise its Put and held its stock,
then sooner or later, McWilliam would need a
distribution, and Austin would also be entitled
to a distribution?

A. l don't know that,

Q. Pardon me?

A. l don't know that he would be ever
required to make a distribution

Q. The word wasn't "required" The
word was "need" to make a distribution

A. l don't know that he would ever need
to make a distribution

Q. Are you aware of the fact that in
2003, lVlr. McWilliam made a distribution to
himself frorn Upper Deck of about $75 million?

A. l`ve read that, yes.

Q. And that doesn't affect your
opinion?

A. No.

Q. Are you aware of any case authority
holding that a court will weigh the nontax

economic consequences of a transaction against

840

Mather - Cross
the tax consequences, and will disregard the
transaction because the tax consequences are
greater than the nontax consequences?

A. Certainly, there is a number of
cases that would hold that.

Q. Are they cited in your report, in
your rebuttal report?

A. ldon't believe so.

Q. Are you aware that there is indeed
authority in the form of court decisions, which
have rejected the approach of weighing the
nontax consequences against tax consequences?

A. l believe there would be -- l don't
know one of those cases offhand, but l believe
there is probably a case out there that would
do that.

CHAlRMAN BYRNE: Or two orthree.
THE WlTNESS: Or two or three.
BY MR. KUSHNER

Q. |n your report at page 16, you
contend that Austin shares were unable to
realize any economic benths because they were
non-votingl had no ability to compel

distributions, had no ability to compel
841

Page 838 ~ 841

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Mather - Cross
liquidations, and could not be freely sold due
to a right of first refusal? The question is
whether you still hold that opinion?

A. l do.

Q. And if your analysis is correct,
then would you agree that no holder having a
non-voting minority interest in a closely-held
corporation would be respected as the owner of
its shares for Federal income Tax purposes?

A. No, | don’t.

Q. And why don't you?

A. Because in the normal situation, the
purpose of the transaction that was
implemented does not carry with it the burden
of paying the tax without the economic benefit
that is commensurate with that tax.

Q. And how do you determine that
purpose, sir?

A. The purpose, as stated in this
transaction, was that nominal ownership of the
stock would be given to the firefighters
justifying an allocation of 90 percent of the
income to the firefighters, when by design

there was only a 5 percent economic benefit

842

Mather - Cross
associated with that ownership.

Q. Are you aware of any court decisions
which refused to allocate income in accordance
with the percentage of stock ownership'?

CHAlRMAN BYRNE: That's awfu||y
broad

A. Off the top of my head l'm not sure
if l do.

Q. |f Upper Deck had been a C
corporation rather than an S corporation is it
your opinion that the transfer of the
non-voting common shares to Austin would have
had economic substance so as to be respected
for Federal income Ta)< purposes?

A. Yes. There would be a valuation
issue,, but yes.

Q. And the difference between one and
the other is that one was an S corporation is
that it?

A. Essentially.

Q. |n your report but not your
testimony this morning, you spoke of an
assignment of income ground for challenging

this Subchapter 802 transaction?

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Mather - Cross
Yes.

Do you still have that opinion?

.>_o.>

Yes.

Q. And there is nowhere in the
April 2004 |RS listing notice, which refers to
that ground for challenging the transaction, is
there?

A. l don't believe there is.

Q. And there is nowhere in the
coordinated issue paper of November 2004 where
the |RS says it will challenge the SC2
transaction on the assignment of income ground
is there?

A. l don't believe there is.

Q. Do you know of any court decisions
which will use that ground the assignment
income ground to pierce the ownership by a
company? ln other words, where the company
owns the asset, the court will nevertheless
hold that it's not-- it's not entitled to the
benefits of ownership?

A. ¥es, there are cases.

Q. Are they cited in your report, sir?

A. At least one of them is.

844

Mather - Cross

Q. Which one is that, sir?

A. Do you know which page the
assignment of income discussion is?

Q. l'm searching forit, too, lwill
see if l can Hnd it,

A. Yes, it's on the top of page 15, the
Blaire case

Q. Welll that's interesting because you
cite Blaire for the proposition that the
doctrine; namely, assignment of income, also
requires the income from property to be
reported by the party that beneficially owns
the property?

A. Correct.

Q. And is it your opinion, and in this
case, Austin did not beneficially own the
non-voting shares?

A. That's right.

Q. And what do you base your opinion
on, sir?

A. That all of the vestiges of
ownership, as l set forth in my report, were
essentially retained and not conveyed to Austin

with the piece of paper.
845

Page 842 - 845

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Mather - Cross

Q. And the vestiges of ownership you
refer to are what?

A. Voting rights, rights to participate
at distributions, right to participate in
liquidation ability to have any -- realize any
economic benefit, other than potentially by the
implementation of the shareholders agreement or
a repurchasel whether it's under the
shareholders agreement or otherwise

Q. Under your analysis in the case of
any closely-held corporation wouldn't
beneficial ownership of non-voting shares which
are nonmarketable be held by the majority or
controlling shareholder?

A. No.

Q. And why is that, sir?

A. The difference in this case is that
to obtain any economic benefit from those
shares in theory -- let's say by sale, which is
one way, or the other --the only way to
realize economic benth on this, you have to
have a buyer. And in the context of most
closely-held corporations, there is some price

at which a buyer would materialize and pay

848

Mather - Cross
something So there is at least the
opportunity for economic benefit

By design in this case, if you took
the piece of paper from the Austin
Firefighters, you ostensibly took with it the
obligation to report 90 percent of the taxable
income of Upper Deck.

And that was a number that was -- an
amount that was grossly in excess of any
economic benefit that there could have been
from ownership of the stock. And so therefore,
there was no -- there was no purchaser. There
was no way to sell and realize economic
benefit.

Q. Let's stay with that for a while.
Was there anything to prevent Austin from
selling its shares, subject to the right of
first refusal, to another charity that was tax
exempt?

A. No, it could have done that if
somebody would have wanted to pay for it.

Q. As a matter of fact, in the schedule
you spoke about this morning in having had seen

it, there were two other tax exempt charities

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Mather - Cross
listed weren't there?

A. That's correct. ldon't believe any
of those ever purchased shares.

CHAlRMAN BYRNE: You were asked
whether or not a charity -- a potential
buyer that made any sense would be another
tax exempt entity_ The question then
becomes whether, and at what price, that
other tax exempt entity would buy a
shareholder of Austin Firefighters

THE WlTNESS: Correct. |n
exercising their hduciary obligations and
investment responsibilities

CHA|RMAN BYRNE: And what they would
be buying is that which Austin has.

BY MR. KUSHNER:

Q. You testiHed this morning about a
second class of stock ground for challenging
the SCZ transaction

A. Yes.

Q. And is it your opinion that the Fair
Market Value |nc. appraisal of the value of the
non-voting shares given to Austin was outside

of the Safe Harbor regs?

848

Mather - Cross

A. You need to be more specihc.

Q. Well, if you want to, lwill refer
you to the KPMG opinion, which recites the Safe
Harbor regulations and the Fair Market Value
lnc. appraisal. Would that help you any?

A. Well, there is at least two
different issues relating to the appraisal for
Safe Harbor regulations There is the
warrants, the valuations of the warrants, and
then there is the valuation essentially -- it's
relevant essentially with respect to the Put,
and those are two different issues.

Q. Your opinion -- l'm sorry. l didn't
mean to interrupt you.

A, No, no. So lwould need to know
which one you are talking about.

Q. All right Let's talk about the
Fair Market Value lnc. opinion directed to the
value of the warrants.

A. Okay,

Q. ls it your opinion that that
appraisal was vulnerable?

A. l don't believe it was vulnerable

with respect to the warrants.
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Mather - Cross

Q. But it's your opinion that it was
vulnerable with respect to the non-voting
shares?

A. That's correct

Q. And why is that?

A. Because with respect to the
warrants, let's see if l -- l should probably
look at the provision But you only ran afoul
of the Safe Harbor provision for the warrants
if they established -- if the appraisal or the
formula established a value that was less than
the true fair market value

With respect to the Put, it could

be -- it could run afoul of the Safe Harbor if
it was less or more And it's my belief that
the Fair -the FMV report established a value
that was more than true fair market value

Q. in that respect, was a fair market
value appraisal an important safety measure in
corning within the Safe Harbor regulations?

A. Yes, l think it was.

Ct. And the transaction, as actually
carried out in December 2002, lacked that

appraisal, didn't it?

850

Mather - Cross
A. That's irrelevant
CHA|RMAN BYRNE: The answer is yes.
-,A. lt lacked the appraisal. Yes, you
are correct
CHA|RMAN BYRNE: Other experts have
left this room bruised You do not
particularly want to be in that position
THE WlTNESS: | apologize.
CHA|RMAN BYRNE: That's quite all
right.
BY MR. KUSHNER

Q. Some clarifying questions You left
the |RS when?

A. December 1987.

Q. And after you left the lRS, have you
had any tax shelter cases which involved the
issue of economic substance?

A. Yes.

Q. What were those?

A. The Leslie case that l mentioned
previously dealt with economic substance l
also tried a -- l had a four-month trial of a
tax shelter group called the Amcore

Partnerships that, after several losses on

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Mather - Cross
procedural grounds, we settled So there was
not an opinion ultimately on the economic
substance issue.

Q. ls that the decision or series of
decisions where you were attacking the parallel
investigation or prosecution launched both by
the |RS and by the US Attorney's Office?

A. That's correct.

Q. And that's the issue you lost on?

A. We lost on that issue, and a statute
of limitations issue, and l think another issue
before we settled

Q. Do you remember what year that
decision or decisions was in?

A. | think the trial was at the end of
'99 and the beginning of 2000, and the opinions
probably came out in 2000 or 2001.

Q. The April 2004 |RS notice, listing
notice, does cite Leslie as you pointed out on
Page "

MR. KUSHNER: May l have just a
moment, please?

CHA|RMAN BYRNE: Sure.

N|R. KUSHNER: Thank you.

852

Mather ~ Cross
(Pause.)
BY MR. KUSHNER
Q. MrA Stroili has corrected me. The
coordinated issue paper, rather than the
April 2004 iRS notice, and that coordinated
issue paper is Exhibit 274l it cites Leslie on
the page Bates Stamped Al0009889 near the
bottom as a "See also" with a parentheses
"Deduction disallowed for fees paid to purchase
deductions in tax-motivated transaction, citing
Brown."
That is the decision you referred
to, sir?
A. That's correct,
Q. And that went up to the E|eventh
Circuit, was it?
A. Ninthr
Q. Ninth Circuit, okay, thank you.
You did say that you had reviewed
the |RS offer of settlement with Mr. McWilliam?
A. That's correct.
Q. And is it fairto state that that
offer of settlement was virtually a complete

concession by the taxpayer, except for some
853

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Mather - Cross
small transaction costs?

A. And the concession by the |RS of the
second class of stock issue

Q. You view that that concession by the
|RS on the second class of stock issue
indicated the weakness the lRS had in that
position?

A. No, they were alternative arguments
and | think they were stronger on the
reallocation issue than on the second class
issue.

Q. Would you agree that the decision of
a taxpayer whether or not to accept the |RS
offer was affected by the strength of the
particular taxpayers case?

MR. WAHLQU|ST: Too general
CHAlRMAN BYRNE: Melissa, read that
back.

Q. Well, you are a litigator. You so
testified?

A. Well, l don't understand the
question

CHA|RMAN BYRNE: Wait a second
(Record read.)

854

Mather - Cross
A. Yesl lwould agree that would always
be true.
Q. Did you review the information

document requests served by the |RS on Upper

» Deck?

A. l reviewed many of them at least.

Q. And did you review the summons
served by the lRS on Austin?

A. No.

Q. Did you review the summons served by
the |RS on KPMG?

A. Not the summons, no.

Q. Did you determine that the |RS was
furnished with a share purchase agreement dated
December 31 - dated as of December 10, 2002?

A. l didn‘t confirm that they received
it. l'm sure that they were provided a copy.

Q. And are you also sure that the |RS
was provided with the December 2002
correspondence exchanged among Mr. Farno,
Mr. Bendheim, Mr. Stefka, and Mr. Kendai|?

A. l don't know.

Q. Did you look at that correspondence?

A. l don't reca||.

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EXHEBET Z

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Mather - Cross

Q. Do you have any doubt that the |RS
review showed that Austin's Put was
extinguished by the share purchase agreement?

MR. WAHLQUlST: Objection.

CHAlRMAN BYRNE: 0verruled.

THE WlTNESS: l'm sorry. Read that
one again

CHAlRMAN BYRNE: Do you understand
that the share repurchase agreement
extinguished the Put?

THE WlTNESS: Do l understand or do
l understand the |RS understands?

CHA|RMAN BYRNE: Do you understand
that it did?

THE WlTNESS: Yes.

CHA|RMAN BYRNE: Then it's
unanimous

BY MR. KUSHNER:

Q. Please take a look at Exhibit 281, a
copy of a letter dated December 9, 2004 from
Mr. Sax at the Orrick firm to Mr. Holfield
H-O-L-F-|-E- L-D, at the |RSl and specifical|y,
at page 5 of that letter.

CHA|RMAN BYRNE: What's the exhibit

856

Mather - Cross
again?

MR. KUSHNER: |t'S Exhibi1281, page

5.

Q. The third paragraph from the bottom.

A l see that.

Q. Did you read that letter as part of
your review

A. Probably.

Q. Well, Mr. Sax states in part "|n
November and December of 2002, UDC, its
counsel, KPMG, and the pension plan exchanged
communications regarding UDC‘s repurchase of
shares and the documentation relating to that
repurchase Those documents are included with
this response."

The question is whether you reviewed
those documents?

A. l don't have a specific recollection
one way or the other.

Q. Referring to the documents in the
paragraph l just read are you able to state
that those documents did not hurt Upper Deck's
SCZ case?

A. Yes, they did not.
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1 Mather - Cross 1 Mather - Cross

2 Q. Well, you don't even remember 2 THE WlTNESS: Right. But by design
3 reviewing them, or am l misstating your 3 there wasn't, yes

4 testimony? 4 CHA|RMAN BYRNE: Thank you.

5 A. My testimony is essentially that any 5 THE WlTNESS: lf i could elaborate

6 issues relating to the repurchase didn't hurt 6 on that. Upper Deck -- as the accident in

7 SE -- or didn't hurt Upper Deck's case. 7 the Upper Deck transaction of the

8 Therefore, these didn't. 8 increased earnings made the numbers

9 Q. Even though you don't remember 9 bigger, but didn‘t change the

10 reviewing those documents? 10 relationships and the percentages

11 A. Even though ldon't remember 11 CHA|RMAN BYRNE: No, l understood
12 reviewing them. 12 that.

13 CHA|RMAN BYRNE: l understood you to 13 BY MR. KUSHNER:

14 be saying that it made no difference -- 14 Q. Mr. Stroili wants to know whether if

15 that Upper Deck was a dead duck'? 15 the Yu-Gi-Oh stream of income had continued
16 THE WlTNESS: That's correct. They 16 and the fair market appraisal under the Put was
17 were dead from the getgo. So the 17 $50 million, would that affect your opinion?

18 repurchase didn't matter. 18 A. For that to happen the value of the

19 CHA|RMAN BYRNE: Well, no. Here is 19 company would have had to have been 20 times
20 what lwant to ask you. Denne "getgo." ` 20 $50 million And in that scenariol it wouldn't
21 Upper Deck was a dead duck from the time 21 change my opinion
22 they entered in the tax shelter -- from 22 Q. Now, would you agree that the test
23 the time they bought the product -- l'm 23 of economic substance requires a court to
24 going to call it produc -- from KPMG, or 24 determine what actually happened in the
25 they were a dead duck as soon as their 25 transaction?

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1 Mather - Cross 1 Mather - Cross

2 earnings went up? 2 A. That's typical, yes.

3 THE WlTNESS: The increase in 3 Q. And then those are the words of the

4 earnings didn't make them a dead duck, 4 coordinated issues paper, aren't they?

5 They were a dead duck before 5 A. Could be

6 CHAlRMAN BYRNE: So they were a dead 6 Q. Would you also agree to use Supreme
7 duck from the minute they bought the 7 Court‘s holding in Frank Lyco vs The United

8 product? 8 States, that the court's test in determining

9 THE WlTNESS: They were. 9 economic reality was to determine "what

10 CHAlRMAN BYRNE: Because’? 10 actually occurred"?

11 THE WlTNESS: Because the generic -- 11 A. Yes.

12 even the generic transaction, the totally 12 Q. ln the present case, would you agree
13 generic transaction will not succeed 13 that what actually happened is shown by the
14 because of the way that it was designed to 14 December 2002 events concerning the termination
15 allocate 90 percent of the income for 15 of Austin's Put?

16 5 percent of the value. 16 A. Yes, that's what happened

17 CHAlRMAN BYRNE: And the only way it 17 Q. The tax court, l think you said,

18 could have survived from anyone who bought 18 consisted of 23 judges?

19 the product is under a situation where 19 A. 19.
20 90 percent of the earnings -- there was a 20 Q. ls it yourtestimony that all of
21 loss, there was no earning -- 21 them are result oriented?
22 THE WlTNESS: l could envision the 22 A. lt's my experience
23 scenario like that. \ 23 Q. And there is no right to jury tria|,
24 CHAlRMAN BYRNE: -- or there was a 24 is there, in tax court?
25 balance between the buyout and earnings 25 A. That's correct.

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Mather - Cross
Q. Are you aware that the Orrick
correspondence in this case indicates a plan to
seek a refund for the 2001 year and to file
suit in district court?
MR. WAHLQU|ST: lobject. You've
got to show him the document
A. | will accept it as a hypothetical
Q. Well, no, out of respect for
Mr. Wahlquist --
CHA|RMAN BYRNE: Make a
representation ls that what it said or
not? l'm looking at you, Mr. Wahlquist?
NlR. WAHLQUlST: l don't know whether
or not it said that.
CHA|RMAN B¥RNE: Okay, that's fair.
MR. KUSHNER: (Handing.)
CHA|RMAN BYRNE: Okay. This is an
exhibit. lwill do it this way. Take a
look at that letter. Have you ever seen
that letter before?
THE WlTNESS: No.
CHA|RMAN BYRNE: Mr. Kushner and
Mr. Wahlquist, are we confident that we

don't have a disclosure of confidential

862

Mather - Cross
information here? God forbid a
privileged question here?

MR. KUSHNER: We do have a
confidentiality agreement in this
proceeding

CHA|RMAN BYRNE: l understand but
this witness has not seen it before, which
doesn't bother me as much as you have got
lawsuits out there with this firm, and we
have got privilege claims, so put
confidentiality aside. Do you still want
to show him’? Okay with you if we show him
this letter’?

MR. WAHLQU|ST: Oh, this witnessl
yeah.

MR. KUSHNER: l might note l mean my
non-party witnesses were asked to sign
onto the confidentiality agreement so...

CHA|RMAN BYRNE: lt becomes a
privilege issue when they have a lawsuit,
and a different kind of confidentiality
issue when they have a |awsuit, as l
understand it, against this firm. "They,"

pointing to respondent, and that's why l

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Mather - Cross
asked them first, Mr. Kushner. lthought
it was only fair. l'm not worried about
the conidentiality in this case. God
forbid l'd be accused of being fair, but
we have no problem here. So go ahead
Take a look at it and ask your question

MR. KUSHNER: The question was he
didn‘t -- the question drew the answer he
hasn't seen it before l don't need to
ask any more about it.

CHA|RMAN BYRNE: Okay. Oh, what the
hell. He read it. Go ahead. Ask him a
question

MR. KUSHNER: No, lwon't.

CHA|RMAN BYRNE: l have a question
in terms of some of the court cases,
decisions l have seen on appeals of tax
court decisions

From your experience, both at the
lRS and in private practice on the West
Coast, was the Ninth Circuit the least
favorite place for the |RS to be appealed?

THE WlTNESS: No, certainly not.

CHA|RMAN BYRNE: Mostfavorite, ran

864

Mather - Cross
the gamut?
THE WlTNESS: in the middle, lwould
say in the midd|e, The Fifth Circuit,
Texas, would be the most taxpayer friendly
l think by almost any reckoning.
CHAlRMAN BYRNE: Thank you. That's
what | was getting at.
BY MR. KUSHNER:
Q. There is a right to jury trial in a
refund suit in district court, isn't there?
A. That's correct,
Q. l think this morning, you
characterized the $2 million treatment in the
settlement with the |RS as a payment of a fee?
A. Yes, l believe l said that,
Q. Would you care to agree that it was
not payment of a fee, but it was a payment used
to increase Mr. McWilliam's tax basis in the
stock he acquired the non-voting shares?
A. Certainly, that was the effect of
the closing agreement, yes.
Q. Thank you.
CHA|RMAN BYRNE: The bottom line was

it was not treated as a charitable
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upper deck-aig arb

Mather - Cross
deduction?
THE WlTNESS: No deduction
CHA|RMAN BYRNE: Charitable
contribution?
THEWlTNESS: Right.
BY MR. KUSHNER:

Q. ln your report at page 11, the last
sentence of the first full paragraph, you state
that "After clarification of one issue, the
Upper Deck parties intend to submit the signed
closing agreement to the lRS."

A. Yes.

Q. What was that one issue?

A. That was the issue that you
discussed the treatment of the $2 million
payment

Q. Which ltake it, Mrv McWilliam
wanted to use to increase his tax basis?

A. That's correct They wanted to
clarify -- as l understood it, they wanted to
clarify in the agreement -- in the closing
agreement itself, that it was treated as a
purchase of the shares by the MPR Trust, not a

redemption by the corporation

866

lVlather - Cross

Q. This morning, you referred to the
transaction involved here as a deal whose only
purpose was to generate tax beneits?

A. ldon't remember saying that, but if
you say l did

Q. ls that an opinion you have as you
sit here novi/?

MR. WAHLQU|ST: lt's too generai.

CHA|RMAN BYRNE: lt's kind of
general, but l think the way -~ l will ask
it a little different way.

The SC squared transaction would
have little value other than to
successfully shelter 90 percent of the
earnings of the company?

THE WlTNESS: Right. lwould agree
with that.

CHAlRMAN BYRNE: Meaning it's not
being done -- it might have -- it may
always have some value as a charitable
contribution?

THE WlTNESS: Yes.

CHA|RMAN BYRNE: But only to the

extent that it doesn't lose its nature as

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Mather - Cross
a charitable contribution and becomes an
improper way of sheltering excess income
THE WlTNESS: | think that's fair.
CHA|RMAN BYRNE: ls part of the way
l put it.
BY MR. KUSHNER:

Q. Would you agree that lVlr. McWilliam,
at the time that the stock - the non-voting
stock was transferred to Austin did not have
an intent to donate that stock, then the
transaction was doomed to fail?

A. lt was doomed to fail anyway, but
that-- a donative intent would be helpfu|.

CHA|RMAN BYRNE: lt's important but
not dispositive |t*s a factor.

THE WlTNESS: ln my view, it is a
factor. lt is not a dispositive factor in

this case
BY MR. KUSHNER:

Q. To turn it around a bit, is it a
dispositive factor against the SC2 transaction
if the donative intent was lacking at the
beginning?

MR. WAHLQU|ST: Too general.

868

Mather - Cross

CHAlRMAN BYRNE: lt is genera|, but
wouldn't you say that ifl from the getgo,
there was no intent to make a charitable
deduction of any kind -- a charitable
contribution of any size, of any amount,
the SC squared was doomed to failure if
the |RS determined that there was no
donative intent?

MR. WAHLQUlST: l'm sorry. With
respect to the charitable donation issue,
the allocation income issue?

CHA|RMAN BYRNE: Donative intent
with respect to -- if you remember the
absence of any donative -- absence of any
donative intent was likely to doom an SC
squared transaction

Ladies and gentlemen this whole
thing depended -~ depended upon sheltering
the income through a charitable
institution for value The value of the
donative intent was the first issue. The
disparity between the benth and --

THE WlTNESS: Okay.

CHAlRMAN BYRNE: -- and the value is

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upper deck-aig arb

Mather - Cross
different
THE WlTNESS: Yeah. Certainly, if
it were determined as a fact that the sole
purpose forthe payment of the $2 million
was to get the tax benefit, then you would
lose.
MR. KUSHNER: May l have just two
minutes? l'm almost done.
CHA|RMAN BYRNE: Certainly.
(Discussion off the record.)
MR. KUSHNER: lhave no further
questions
MR. WAHLQU|ST: Can you give me five
minutes?
CHAlRMAN BYRNE: Yes.
(Recess taken.)
CHAlRMAN BYRNE: Any questions?
MR. WAHLQU|ST: Yes, two lines of
inquiry.
RED|RECT EXAM|NATlON
BY MR. WAHLQU|ST:
Q. You were asked about whether or not
you recalled reviewing certain documents that

were transmitted to the |RS and |DR responses

870

Mather - Redirect
pertaining to the December 2002 transaction
Do you recall that testimony?
.A. Yes, l do.

O. Do you recall reviewing some
documents that pertain to that transaction?

A. Yes, |reviewed some.

Q. Just answer the question

A. Yes.

Q. Did you review the testimony in this
proceeding of Mr. Stefka, Mr. Kenda||, and
Mr. McWilliam pertaining to that transaction?

A, Yes, l did.

Q. Are you still of the opinion that
the December 2002 transaction does not impact
the outcome of any litigation pertaining to the
SC squared transaction involved here?

A. l'm still of the opinion that it
does not change that outcome

Q. And the -- you were asked some
questions on cross by Mr. Kushner about
potential plans to litigate a refund claim in
district court,

Do you recall that?

A. Yes.

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Mather - Redirect
Q. ln your opinion, does it matter
where this case is litigated as to the outcome?
A. No, my opinion was not based on
exclusively tax court. ln my view, the chance
of success is essentially the same in any
court
MR. WAHLQU|ST: No further
questions
MR. KUSHNER: l have no questions
CHA|RMAN BYRNE: A question that l'm
probably just not clear about. As l
understand the focus of your differences
with the Burkes is, that the Burkes seemed
to stop at economic substance of the
contribution and how you arrived at it.
lt had to be an appraisal of the
company, fair market value, valuing the
Put, or the repurchase, or the right of
first refusal "fairly" in quotes And if
you determine that the economic substance
of the transaction between the donee and
donor, it can stop there. What l hear you
say -- you can basically stop there.

What l hear you saying is, for all

872

Mather - Redirect
intents and purposes, you can never stop
there. When it comes to a tax shelter
situation whether it's SC squared or it's
any tax shelter, the old real estate tax
shelters, the doctor's best friend, the
building in the Bronx, whatever it might
bel you can never stop at the economic
substance argument, You must always go to
the tax beneflt, for want of a better
word, of the donor.

As in this case, you would always
have to look at what tax benetit did the
donor get by sheltering 90 percent of the
income, by getting rid of an asset while
it was appreciating in valuel whatever the
case may be. You never stop at the
economic substance or the donative intent
of what was received by, or what was
intended to be given to the donee?

THE WlTNESS: l think that’s a fair
characterization You can't look at just
what the firenghters got, and somehow in
focusing on that alone, you say okay,

there was substance in this transaction
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Mather - Redirect
CHA|RMAN BYRNE: Or how they got it.
THE WlTNESS: Right. l think
that's ~- l think that the Burkes kind of
get at their conclusions from different
perspectives, but l think that's a fair
characterization of our difference in at
least one respect, yes.
CHA|RMAN BYRNE: l'm not saying
that's the only one.
THE WlTNESS: Right. All right.
Thank you.
CHA|RMAN BYRNE: No, no, go ahead
THE WlTNESS: Well, l mean clear|y,
there was an economic --
CHAlRMAN BYRNE: When l open the
door, you can
THE WlTNESS: Okay. There was an
economic change of position here if you
want to reduce it to its essence. l mean
$2 million changed hands, and $2 million
is real money. So...
CHA|RMAN BYRNE: And $11 million is.
THE WlTNESS: More money.
CHA|RMAN BYRNE: Could have

874

Mather ~ Redirect

exchanged hands, and it was more money

for __

THE WlTNESS: Right.

CHA|RMAN BYRNE: -- or $25 million,
whatever it was that changed hands, you
still have to take a look at -- ldon't
want to say the purpose of the
transaction, but what also happened during
that tax benefit

THE WlTNESS: To look at claims tax
benefit, you have to look at the claims
tax benefit because if you were arguing
that the deduction was $800,000 and should
have been $600,000, that's a lot different
than saying the tax benefit was
$66 million for that.

CHA|RMAN BYRNE: Because -- again, l
will try and do it this way. What l hear
you saying is that you would not put much
faith in a successful defense contesth
the KPMG product, even if it worked --
even it was carried out in the manner in
which it was intended to be carried out.

|fl after 18 months, there was a fair

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Mather - Redirect
market value. lf, after whatever the fair
market value was 15 million, whatever, in
'02.

THE WlTNESS: Okay.

CHA|RMAN BYRNE: That, as designed
and implemented with that result, while it
may have had the intended result of
sheltering for a while earnings,

90 percent of the earnings, if scrutinized
singularly or in a pack, the Upper Deck
transaction would not pass muster. l kind
of hear you saying that.

THE WlTNESS: That's absolutely
correct is that if everything was perfect,
they still lose. They still |ose. lt was
designedl in my view, without economic
substance, designed without economic
substance

CHA|RMAN BYRNE: Because it was
designed for maximum tax benefit, and
that's the way it was sold.

THE WlTNESS: lt was designed to
confer 90 percent tax benefit in exchange

for 5 percent economic benetit, and that

876

Mather - Redirect
will never prevail anywhere.

CHA|RMAN BYRNE: Okay. | kind cf
heard that.

ARB|TRATOR MOXLEY: Mr. Kramer
earlier had made the point, l think, that
one or the other of the Burke witnesses
had given some examples of areas where
they said that things had seemed
counterintuitive, that having the
potential to work, end up working.

And their point was, you know, it
may not seem right that you could have
this big disparity here between the
benefit that the taxpayers or someone
associated with them ostensibly could get
and the amount of the charity --the
amount that the charity gets.

That there's all kinds of areas, and
ljust went through my notes, and ljust
have sort of references to them. l don't
have enough that l can really address the
areas, but maybe you can The examples
that l see references to were short sales

against the box. There were references to
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Page 874 - 877

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Mather - Redirect
a number of partnership transactions where
you have a disparity between ownership and
allocation and there is a reference to
ESOPs, employee plans.

THE WlTNESS: Right.

ARB|TRATOR MOXLEY: l don't know if
these -- just naming these, what l think
were examples, gives you enough to respond
because l think it will be helpful for us
to hear your side of this.

But first of all as a general
proposition, is the point fair that there
are in the law a number of instances where
you have a kind of disparity, and it
appears to be generally withheld -- upheld
or not yet knocked down.

THE WlTNESS: Well, there have been
instances where you could argue there is a
gap in the lawl and a favorable result can
be obtained in an individual case And
then often what happens is, if that result
is upheld on appeal, Congress comes in and
changes the |aw, says that's not what we

meant.

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Mather - Redirect

There would be instances like that,
One of them l cited in my own report in
the Gitletz case, which involved
essentially the creation of basis as a
result of a cancellation of indebtedness
situation for an S corporation lt was
kind of a complicated case, lt went all
the way up to the Supreme Court. The
Supreme Court blessed it, and Congress
immediately changed the law and said
that's not what we meant.

So instances, you know, like that
have occurred. l mean lightening can
strike in a particular place This is not
a situation in which that is a viable
alternative -- a viable outcome because
this can easily be addressed under the
long-standing judicial doctrines, like
economic substance and substance over
form, and just say there is nothing here

l mean usua||y, those cases rely on
very technical interpretations of kind of
borderline aspects of statutes, and that's

really not so much the case here.

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Mather - Redirect

The case here is that they designed
a transaction where they took this piece
of paper that was a share of stock, and
peeled off everything they could that made
it real shares of stock, and said "Oh,
we||, we get all of these extraordinary
benefits, notwithstanding all we have is
this transparent piece of paper."

And that is -- that's as old as time
in terms of the tax shelter areas. There
is nothing new, nothing gray area, about
that. Those are the kinds of cases really
more so than even kind of the technical
‘90s tax shelters

That's more like the kind of
shelters that l was thting when l was at
the |RS in the '80s where there is]ust
nothing happening in this realm of
90 percent ownership of the partner that
makes any economic sense here.

ARBlTRATOR MOXLEY: l mean you have
the 2 million orthe 11 million, but you
are saying that's not enough because you

need the balance

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Mather - Redirect

THE WlTNESS: Absolutely. l mean,
you know, we are not dealing with a
technical gray area here. We are dealing
with a situation in which there is a
transaction that is remarkably baldfaced
in its design to remove all of the benefit
from the firefighters, and leave them with
this piece of paper they can do nothing
with, other than give it back later, and
then you will figure out what you are
going to pay him.

CHA|RMAN BYRNE: ls the situation
made worse by --in your opinion, by
virtue of the fact that it was generically
designed? That it was not designed for a
particular company with particular
earnings or particular potential or blah,
blah, blah, blah, blah? lt's like here is
the product Here is what the product is
going to do. implement the product and
that puts 57 of them out there, as opposed
to one.

THE WlTNESS: lt's -- that's not--

it is worse because of that, but it's a
881

Page 878 - 881

stated l PA:(§:€|§`;n 752‘?

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iVlather - Redirect
loser for one.

ARB|TRATOR MOXLEY: is there a
potentiall if you get into a bunch of
cases being litigated in tax court and
district court, notwithstanding what we
have heard that the Service tries to
settle indeed, there is a statute for
settling cases on equal basis

But when you get into litigationl
does that take oven And so if you have a
set of facts that has elements that are
favorable to the taxpayer, that there is a
potential to litigate -- or for settlement
along the way, get into it?

THE WlTNESS: No. And here, it
would matter because if this were one deal
and one alone, then there would be a
possibility for getting a better deal down
the road.

But by -- because it's a listed
transaction, it has been identified by the
lRS, and there were the 58 total
transactions the |RS policy which is

virtually inviolate, in my experience,

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Mather - Redirect

which is when we make an offer, that's the
best offer you get.

And if you want to take it further,
they only get worse from here on, and that
is sacrosanct to the lRS, lt's more
important than the outcome of an
individual case

Now, the only exception to that
would be on an issue that really isn't
relevant to us here, would be the
penalties because they will always
recognize differences on penalties if
you went to your own attorney and have him
look at this deal, and he blessed itl then
you have a much better case on the
penalties than you do for the guy that
just took the KPMG opinion, you know, the
guy that you were -- who was chasing after
you to get into this deal.

So that matters on penalties and
there aren't really any hard and fast
rules on the penalties with the respect to
the underlying tax itself.

ARBITRATOR MOXLEY: They really

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Oct 30 arb hearing 10/30/2006 10:25:00 Ai\/i

Mather - Redirect
stick with it?

THE WlTNESS: They stick with it.

ARBiTRATOR KRAMER: l have a
question

Much was made by the Burkes of the
fact that between the first announcement
from lRS regarding the 802 transaction, to
the time of the position paper was three
years or so. lt was inordinately long.

Do you have an explanation for why
it took so long if this is as old as time
and no gray area?

THE WlTNESS: Well, l think --

ARBiTRATOR KRAMER: Two years,
whatever.

THE WlTNESS: l think, yeah, to
state it the way l remember is they were
aware of the transaction at the time of
the disciosure, and that it was a couple
years later before the notice was issued.
And l think that's largely attributable to
the fact that there were 58.

They knew at the time of the

disclosure or at least at the time that

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Mather - Redirect

KPMG responded to the summons, presumabiy,
they knew all the 58 people Why they
issued the notice in that instance, |‘m
not even sure because why do you issue a
public notice when you already have the
whole universe identified and under audit?

lt's not typically what the function
of the notice is, And so lthink maybe
the only --the purpose of the notice is
more of an afterthought where they said
well, you knowl there could be copycats
out there or something but...

CHA|RMAN BYRNE: in terrorem effect
or for future?

THE WlTNESS: Maybe, maybe and
for -- because it's always these deals and
anything substantially similar.

So, you know, there certainly could
have been instances when KPMG didn‘t do
the deal, but some - you know, they
pitched the deal to some guy, and he took
it to his own accountant and then that
accountant put it together for him, or

something like that.
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Mather ~ Redirect

So those aren't going to be
significant in number, but l think that
could be a reason that they published the
notice at all. l'm not surprised that it
was a delay in time at all because l am
more surprised that they even thought it
was necessary to issue the notice

And secondly, if they also ~- l
think Robert Burke made a point that there
was a difference in the normal pattern in
that they communicated -- they didn‘t
publish the terms of the settlement as
well because that's a typical aspect of
these, too.

But again l think that's the same
answers When you know your universe, why
do you publish to the world what the
settlement is when you can write 58
letters, and that accomplishes the task
because many of these other deals had
hundreds and sometimes thousands of
participants and they had little hope of
identifying them all. So they were hoping

to scare them straight, if you will, that

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Mather - Redirect

in terrorem effect from the notice,

'itself.

ARB|TRATOR MOXLEY: You gave a
characterization that the |RS wins
essentially 95 percent of the time in tax
court. Then you said well, your opinions,
though, are not keyed to -- are not
limited by tax court

Do you have a basis to give a
characterization as to the extent to which
the taxpayers win or lose versus the
Service in district court?

THE WlTNESS: lt is more frequently
that taxpayers win in district court lt
certainly is more frequent l don't know
if it's the same cases

CHA|RMAN BYRNE: Damn dumb federal
judges

THE WlTNESS: Yeahl lmean l-- if
your argument is our program is very
meritorious because we can somehow avoid
the tax court and get to somebody, ldon't
know if that's -»

ARB|TRATOR MOXLEY: What about the

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upper deck-aig arb

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Mather - Redirect
appellate courts?

THE WlTNESS: Appellate courts are,
by and large, not that favorable

ARB|TRATOR MOXLEY: To whom?

THE WlTNESS: To the taxpayer.
There are instances in which they have
reversed the tax court. One of the -- one
of the instances of one of the cases here
is the ACM Partnership case, lthink it's
called.

And there was an appeal of that, and
it was reversed in part and remanded, but
it essentially said you didn‘t go far
enough.

And then there is the Coltech case
that l think everybody has cited recently
where in the Federal Claims -- in the
Court of Federal Claims, there was victory
for the taxpayer, and it was appealed in
the Federal Circuit, and they slammed it
and reversed it.

And the conventional wisdom at the
time is that if you have a shot, in most

cases, the Court of Federal Claims is the

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Mather - Redirect

place to go and then after this Coltech
case, everybody says oh, now, it's the
district court. Oh, cross that one out,
We knew it wasn't the tax court, Let's
cross out of the Court of Federal Claims.
Maybe we can find a district court
someplace. But you know, it's become an
almost frantic search to find somebody who
isn't going to see what's going on here,

MR. KUSHNER: l have a couple of
questions

CHAlRMAN BYRNE: Sure, go ahead.

RECROSS-EXAMlNATiON
BY MR. KUSHNER:

Q. Haven't most of your cases after you

left the |RS been in the district courts?

A. No, most in tax court,
Most in tax court?
Yes.

Have any been in district court?

.>.D.`»".O

Some.

Q. Can you give an estimate

percentagewise?

A. Of actual trials or cases that l
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upper deck-aig arb

Mather - Recross
filed?

Q. No, no, cases commenced

A. Cases commenced, lwould say
80 percent tax court, 20 percent district.

Q. And the 20 percent in district
court, have any of those been settled?

A. Most of them have been settied.

Q. Nowl one other question which l'm
led to ask because you referred to the Gitletz
decision the Supreme Court decision page 5 of
your report, You state "The 1990 tax shelters
were more typically based on a chain of
colorable interpretations of the internal
Revenue Code, which when applied to various
aspects of the transaction, led to an illogical
or unintended resuit. Some early litigation
successes seem to fuel this tax shelter boom."
There, you cite Gitletz v. Commissioner, 531
U.S. 206, affirming and reversing several
earlier cases

i take it that what you are really
saying is that the Supreme Court thought it was
bound to apply the internal Revenue Code and

regulations as they stood on the books?

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Mather » Recross
A. There was a literal interpretation
of the statute that the Supreme Court applied
in a case in which the result would seem
unintended, yes.

CHAlRMAN BYRNE: And soon
thereafter, Congress came in.

THE WlTNESS: Yes, immediately
changed the law.

MR. KUSHNER: No other questions

CHA|RMAN BYRNE: Thank you very
much. l realize it was a long day for
you, but it was a very productive day for
us. Why don't you see your witness out,
and then we will stay here, and we will
conclude and finish up for the day.

(Pause.)

CHA|RMAN BYRNE: Let me tell you
that l truly commend counsel for the
quality and forthrightness, and in some
instances, limitations of your respective
tax witnesses »- experts

l confess that we have a better
understanding of the basic principles ~

without regard to their opinion, everyone

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l 7 I, MELISSA GILMORE, a Notary Public

8 within and for the State of New York, do hereby
9 certify that the within is a true and accurate
10 transcript of the proceedings taken on

11 October 30, 2006.

12 I further certify that I am not

13 related to any of the parties to this action by

14 blood or marriage; and that I am in no way
15 interested in the outcome of this matter.
16 IN WITNESS WHEREOF, 1 have hereunto

17 Set my hand this 3lst day of October, 2006.

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MELISSA GILMoRE
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